Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 1 of 165 PageID #: 9




                         Exhibit A
5/25/2021   Case 1:21-cv-00741-RTD Document 1-1 File
                                                Filed   05/25/21 Page 2 of 165 PageID #: 10
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                                                               Daylight Time)



   Court:    DE Court of Chancery Civil       Judge:            McCormick, Kathaleen St Jude          File & ServeXpress Live 4/26/2021
             Action                                                                                   Date:
   Division: N/A                              Case       2021-0357-KSJM                               Document(s) Filed:      33
                                              Number:
   Case       Injunctive Relief               Case Name: De nition Services Inc. v. GVA Capital Date Range:                        All
   Type:                                                 LTD.


                                                                                     1-12 of 12 transactions   <<Prev Page 1 of 1 Next>>

      Transaction      Date/Time Option      Case Number         Authorizer      #    Document Type     Document Title    Review     Size
                                             Case Name           Organization                                             Status

     66548167       4/26/2021     File Only 2021-0357-           Christian C F   1   Complaint - 18-   Veri ed            Accepted 0.6MB
                    4:06 PM                 KSJM                 Roberts,            109 Service <= 10 Complaint
                    EDT                     De nition            Richards            defs              Seeking
                                            Services Inc. v.     Layton &                              Temporary
                                            GVA Capital          Finger PA-                            Restraining
                                            LTD.                 Wilmington                            Order and other
                                                                                                       Relief
                                                                                                          Linked from
                                                                                                       (10)

                                                                                 2   Motion for        Plainti 's Motion Accepted 0.2MB
                                                                                     Temporary         for a Temporary
                                                                                     Restraining       Restraining
                                                                                     Order             Order

                                                                                 3   Motion to         Motion for         Accepted 0.1MB
                                                                                     Expedite          Expedited
                                                                                                       Proceedings

                                                                                 4   Opening Brief     Plainti 's         Accepted 0.2MB
                                                                                                       Opening Brief in
                                                                                                       support of its
                                                                                                       Motions for
                                                                                                       Temporary
                                                                                                       Restraining
                                                                                                       Order and
                                                                                                       Expedited
                                                                                                       Proceedings

                                                                                 5   Summons           Letter to          Accepted 0.1MB
                                                                                     Instructions      Register in
                                                                                                       Chancery from
                                                                                                       Christian C.F.
                                                                                                       Roberts, dated
                                                                                                       April 26, 2021,
                                                                                                       Regarding
                                                                                                       Summons
                                                                                                       Instructions

                                                                                 6   Letter            Letter to The      Accepted 0.1MB
                                                                                                       Honorable
                                                                                                       Andre G.
                                                                                                       Bouchard from
                                                                                                       Christian C.F.
                                                                                                       Roberts, dated

https://secure.fileandservexpress.com/SearchReport/DocsByCase.aspx?t=4&s=1                                                                  1/6
5/25/2021   Case 1:21-cv-00741-RTD Document 1-1 File
                                                Filed   05/25/21 Page 3 of 165 PageID #: 11
                                                     & ServeXpress
                                                                                                    April 26, 2021,
                                                                                                    Enclosing
                                                                                                    Courtesy Copies
                                                                                                    and Requesting
                                                                                                    Prompt
                                                                                                    Assignment

                                                                                   Exhibits         Exhibits A-B to   Accepted 11.3MB
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                                                                                   Supplemental     Supplemental      Accepted 0.2MB
                                                                                   Information      Information
                                                                                   Sheet            Pursuant to Rule
                                                                                                    3(A) of the Rules
                                                                                                    of the Court of
                                                                                                    Chancery and
                                                                                                    Statement of
                                                                                                    Good Cause to
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                                                                                                    Complaint
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                                                                                                    (1)

                                                                                   Veri cation to   Unsworn           Accepted 0.2MB
                                                                                   Complaint        Veri cation of
                                                                                                    Markus Linder
                                                                                                    Pursuant to 10
                                                                                                    Del. C. Section
                                                                                                    3927

                                                                                   Proposed Order   [Proposed]        Accepted 0.1MB
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                                                                                   Proposed Order   [Proposed]        Accepted 0.1MB
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                                                                                                    Plainti 's Motion
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                                                                                                    Proceedings

     66549434       4/26/2021     File Only 2021-0357-         Christian C F   7   Supplemental     Amended           Accepted 0.1MB
                    5:33 PM                 KSJM               Roberts,            Information      Supplemental
                    EDT                     De nition          Richards            Sheet            Information
                                            Services Inc. v.   Layton &                             Pursuant to Rule
                                            GVA Capital        Finger PA-                           3(A) of the Rules
                                            LTD.               Wilmington                           of the Court of
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     66551237       4/27/2021     File And   2021-0357-         Register in      8    Issuance of        4.27.2021 -       Accepted 0.1MB
                    11:43 AM      Serve      KSJM               Chancery,             Summons            issued (1) 18-109
                    EDT                      De nition          DE Court of                              sums to sps (1)
                                             Services Inc. v.   Chancery Civil                           copy
                                             GVA Capital        Action                                       Linked from
                                             LTD.                                                        (3)

     66556958       4/28/2021     File Only 2021-0357-          Christian C F    9    Statement          Letter to the       Accepted 0.2MB
                    6:38 PM                 KSJM                Roberts,              Pursuant to Rule   Register in
                    EDT                     De nition           Richards              4(d)(c)            Chancery dated
                                            Services Inc. v.    Layton &                                 April 28, 2021
                                            GVA Capital         Finger PA-                               from Christian
                                            LTD.                Wilmington                               C.F. Roberts
                                                                                                         regarding
                                                                                                         service on
                                                                                                         defendant GVA
                                                                                                         Capital LTD
                                                                                                         pursuant to 6
                                                                                                         Del. C. Section
                                                                                                         18-109
                                                                                                             Linked to (2)
                                                                                                             Linked from
                                                                                                         (1)

                                                                                 10   Summons            Summons and       Accepted 0.1MB
                                                                                                         Return of
                                                                                                         Service for GVA
                                                                                                         Capital Ltd. by
                                                                                                         serving
                                                                                                         registered agent
                                                                                                         of GVA Auto LLC,
                                                                                                         Harvard
                                                                                                         Businesses
                                                                                                         Services, Inc. by
                                                                                                         Brandywine
                                                                                                         Process Servers,
                                                                                                         Ltd. on 04-28-21
                                                                                                             Linked to (2)
                                                                                                             Linked from
                                                                                                         (2)

     66574578       5/5/2021      File And   2021-0357-         Register in      11   Register's         Register's          Accepted 0.3MB
                    3:18 PM       Serve      KSJM               Chancery,             Certi cate         Certi cate dated
                    EDT                      De nition          DE Court of                              May 4, 2021,
                                             Services Inc. v.   Chancery Civil                           pursuant to 6
                                             GVA Capital        Action                                   Del.C. 18-109.
                                             LTD.                                                            Linked to (1)
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     66608528       5/17/2021     File Only 2021-0357-          Christian C F    12   Stipulation &    [Proposed]        Accepted 0.1MB
                    8:17 PM                 KSJM                Roberts,              (Proposed) Order Stipulated Status
                    EDT                     De nition           Richards                               Quo Order
                                            Services Inc. v.    Layton &                                   Linked to (1)
                                            GVA Capital         Finger PA-                                 Linked from
                                            LTD.                Wilmington                             (2)

     66609157       5/18/2021     File And   2021-0357-         Ryan D         13     Entry of           Entry of            Accepted 0.1MB
                    9:56 AM       Serve      KSJM               Stottmann,            Appearance         Appearance of
                    EDT                      De nition          Morris Nichols                           Ryan D.
                                             Services Inc. v.   Arsht &                                  Stottmann of
                                             GVA Capital        Tunnell LLP-                             Morris, Nichols,
                                             LTD.               Wilmington                               Arsht & Tunnell
                                                                                                         LLP on behalf of
                                                                                                         Interested Non-
                                                                                                         Party Pavel
                                                                                                         Cherkashinin

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5/25/2021   Case 1:21-cv-00741-RTD Document 1-1 File
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                                                                                 14   Letter           Letter to         Accepted 0.1MB
                                                                                                       Chancellor
                                                                                                       Kathaleen S.
                                                                                                       McCormick from
                                                                                                       Ryan D.
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                                                                                                       Party Pavel
                                                                                                       Cherkashin
                                                                                                       Regarding form
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                                                                                                       Stipulated Status
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                                                                                      Exhibits         Exhibit 1 to      Accepted 0.5MB
                                                                                                       Letter to
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                                                                                                       McCormick from
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     66609811       5/18/2021     File And   2021-0357-         Kathaleen St     15   Order            Granted           Accepted 0.2MB
                    11:23 AM      Serve      KSJM               Jude                                   ([Proposed]
                    EDT                      De nition          McCormick,                             Stipulated Status
                                             Services Inc. v.   DE Court of                            Quo Order)
                                             GVA Capital        Chancery Civil                             Linked to (1)
                                             LTD.               Action                                     Linked from
                                                                                                       (1)

     66609955       5/21/2021     File And   2021-0357-         Adam D Gold,     16   Entry of         Entry of           Accepted 0.2MB
                    11:47 AM      Serve      KSJM               Ross                  Appearance       Appearance of
                    EDT                      De nition          Aronstam &                             Bradley R.
                                             Services Inc. v.   Moritz LLP                             Aronstam and
                                             GVA Capital                                               Adam D. Gold of
                                             LTD.                                                      Ross Aronstam
                                                                                                       & Moritz LLP as
                                                                                                       counsel on
                                                                                                       behalf of
                                                                                                       Defendant GVA
                                                                                                       Capital Ltd. (with
                                                                                                       Certi cate of
                                                                                                       Service)
                                                                                                          Linked to (2)

                                                                                 17   Motion for Pro   Peters, Elliot R.: Accepted 0.2MB
                                                                                      Hac Vice         Motion for
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                                                                                                       Hac Vice on
                                                                                                       behalf of
                                                                                                       Defendant GVA
                                                                                                       Capital Ltd. (with


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5/25/2021   Case 1:21-cv-00741-RTD Document 1-1 File
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                                                                               18   Motion for Pro     Marais, Nicholas Accepted 0.2MB
                                                                                    Hac Vice           D.: Motion for
                                                                                                       Admission Pro
                                                                                                       Hac Vice on
                                                                                                       behalf of
                                                                                                       Defendant GVA
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                                                                                    Pro Hac Vice       Support of
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                                                                                                       Hac Vice of Elliot
                                                                                                       R. Peters on
                                                                                                       behalf of
                                                                                                       Defendant GVA
                                                                                                       Capital Ltd.

                                                                                    Proposed Order - Peters, Elliot R.:     Accepted 0.1MB
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                                                                                                     Motion for
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                                                                                                     Hac Vice on
                                                                                                     behalf of
                                                                                                     Defendant GVA
                                                                                                     Capital Ltd.
                                                                                                         Linked from
                                                                                                     (1)

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                                                                                    Pro Hac Vice       Support of
                                                                                                       Motion for
                                                                                                       Admission Pro
                                                                                                       Hac Vice of
                                                                                                       Nicholas D.
                                                                                                       Marais on behalf
                                                                                                       of Defendant
                                                                                                       GVA Capital Ltd.

                                                                                    Proposed Order - Marais, Nicholas       Accepted 0.1MB
                                                                                    Pro Hac Vice     D.: [Proposed]
                                                                                                     Order Granting
                                                                                                     Motion for
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                                                                                                     Hac Vice on
                                                                                                     behalf of
                                                                                                     Defendant GVA
                                                                                                     Capital Ltd.
                                                                                                         Linked from
                                                                                                     (1)

     66622863       5/21/2021     Serve     2021-0357-         Christian C F        Interrogatories    Plainti              N/A     0.1MB
                    4:28 PM       Only -    KSJM               Roberts,                                De nition
                    EDT           Private   De nition          Richards                                Services Inc.'s
                                            Services Inc. v.   Layton &                                First Set of
                                            GVA Capital        Finger PA-                              Interrogatories
                                            LTD.               Wilmington                              Directed to
                                                                                                       Defendant GVA
                                                                                                       Capital Ltd.

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5/25/2021   Case 1:21-cv-00741-RTD Document 1-1 File
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                                                                                                           Defendant GVA
                                                                                                           Capital Ltd.

     66623350       5/21/2021     File And   2021-0357-         Christian C F    19   Notice of Service    Notice and          Accepted 0.1MB
                    6:47 PM       Serve      KSJM               Roberts,                                   Certi cate of
                    EDT                      De nition          Richards                                   Service of (1)
                                             Services Inc. v.   Layton &                                   Plainti
                                             GVA Capital        Finger PA-                                 De nition
                                             LTD.               Wilmington                                 Services Inc.'s
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                                                                                                           Interrogatories
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                                                                                                           Defendant GVA
                                                                                                           Capital Ltd.; (2)
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                                                                                                           Requests for
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                                                                                                           Defendant GVA
                                                                                                           Capital Ltd.; and
                                                                                                           (3) this Notice
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     66626984       5/24/2021     File And   2021-0357-         Kathaleen St     20   Order - Pro Hac      Granted (Peters,    Accepted 0.2MB
                    3:50 PM       Serve      KSJM               Jude                  Vice                 Elliot R.:
                    EDT                      De nition          McCormick,                                 [Proposed]
                                             Services Inc. v.   DE Court of                                Order Granting
                                             GVA Capital        Chancery Civil                             Motion for
                                             LTD.               Action                                     Admission Pro
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                                                                                                           behalf of
                                                                                                           Defendant GVA
                                                                                                           Capital Ltd.)
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                                                                                 21   Order - Pro Hac      Granted (Marais, Accepted 0.2MB
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                                                 EFiled: Apr 26 2021 04:06PM EDT
                                                 Transaction ID 66548167
                                                 Case No. 2021-0357-
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

  DEFINITION SERVICES INC.,                     )
                                                )
                           Plaintiff,           )
                                                )
              v.                                )   C.A. No. 2021-____-____
                                                )
  GVA CAPITAL LTD.,                             )
                                                )
                           Defendant.           )


                 VERIFIED COMPLAINT SEEKING
         TEMPORARY RESTRAINING ORDER AND OTHER RELIEF

         Plaintiff Definition Services Inc. (“Definition Services”), by and through its

undersigned counsel, for its Verified Complaint Seeking Temporary Restraining

Order and Other Relief against Defendant GVA Capital Ltd. (“GVA Capital”),

alleges as follows:

                                NATURE OF THE ACTION

         1.        This action seeks to stop the brazen attempt by an investment manager,

GVA Capital, to steal the substantial gains of its investor, Definition Services, in

direct violation of the parties’ written agreement. Pursuant to the written agreement,

Definition Services is entitled to receive a distribution of its investment gains, which

are currently valued in the hundreds of millions of dollars, in the coming weeks.

Until very recently, GVA Capital was working cooperatively with Definition

Services in planning for this distribution under the written agreement. However, as



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a result of one of GVA Capital’s members seizing control of the company’s board,

GVA Capital has suddenly taken the position that it is entitled to all of Definition

Services’ investment gains and that such gains will be distributed directly to GVA

Capital and/or its new controller. GVA Capital has taken this remarkable position

on the grounds of an alleged “oral agreement” purportedly reached years ago by

individuals who lacked authority to bind either party. The alleged oral agreement

also violates the very terms of the parties’ underlying written agreement, which

requires any modification or amendment of the parties’ rights to be in writing. This

shocking conduct must be stopped, including through the prompt issuance of a

temporary restraining order. Otherwise, Definition Services’ substantial investment

gains will be distributed to foreign entities, including a Russian national living

abroad, and dissipated before any final relief may be awarded, effectively leaving

Definition Services without an available remedy.

         2.        GVA Capital styles itself as a venture capital firm that manages

investments in early stage companies. Definition Services holds investments in three

special purpose entities managed by GVA Capital.           One of those investment

vehicles—GVA Auto LLC (“GVA Auto”)—has experienced phenomenal success

as a result of its investment in Luminar Technologies Inc. (“Luminar”), made years

ago when Luminar was a struggling startup. But Luminar has since gone public and

experienced an extraordinary increase in value. As a result, Definition Services’


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indirect investment in Luminar through GVA Auto is now worth hundreds of

millions of dollars.

         3.        Prior to April 8, 2021, Definition Services was working with GVA

Capital director Pavel Cherkashin (“Cherkashin”) on a distribution agreement,

which would provide Definition Services with its rightful share of the Luminar

investment proceeds.         However, on that date, Cherkashin notified Definition

Services that another member of GVA Capital, Odrison Investments Limited

(“Odrison”), was seeking to remove Cherkashin as a director because Cherkashin

refused to recognize the alleged oral agreement that purportedly gave GVA Capital

the right to all gains on the Luminar investment. Odrison is an entity controlled by

Magomed Musaev (“Musaev”), a Russian national. Odrison and Musaev assert that

at some point Musaev entered into an oral agreement with a “representative” of

Definition Services and/or its predecessor providing that Definition Services would

only be entitled to the return of its invested capital (approximately $20 million) and

all gain or loss on the GVA Auto investment would be realized by GVA Capital.

         4.        Odrison’s/Musaev’s alleged oral agreement is unsupported by the

evidence and, moreover, wholly unenforceable. First, any such oral agreement

would violate the plain terms of the Operating Agreement of GVA Auto (the

“Operating Agreement”) to which GVA Capital and Definition Services are parties.

The Operating Agreement provides that “[a]ll profit and loss shall be allocated to


                                            3
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the Capital Accounts of the Members in proportion to their Percentage Interests.”

The Operating Agreement further provides that the agreement shall not be amended

except in writing. Second, none of the individuals purportedly involved in reaching

the alleged oral agreement had authority to bind the parties to it. Third, no such

binding or enforceable oral agreement was reached in any event. Odrison/Musaev

appear to have fabricated various versions of this self-interested oral agreement, all

of which Definition Services denies.

         5.        Remarkably, Odrison’s own partner in GVA Capital, Cherkashin,

refused to recognize the alleged oral agreement and sought properly to perform GVA

Capital’s obligations under the Operating Agreement. As a result, on April 13, 2021,

Odrison purported to remove Cherkashin from GVA Capital’s board and appointed

in his place Musaev’s handpicked counsel. Odrison’s intention in doing so was

clear:        It was causing GVA Capital to adopt Musaev’s outlandish position

concerning the alleged oral agreement, including that all of Definition Services’

gains on the Luminar investment shall be distributed to GVA Capital and/or Musaev.

GVA Capital’s newly-minted position is not only contrary to the express terms of

the Operating Agreement, but is also a blatant breach of its fiduciary duties as the

manager of GVA Auto.

         6.        The distribution is likely to occur on or soon after June 1, the date on

which lockup restrictions on the Luminar stock expire and the Luminar stock will


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be available to GVA Auto. Absent an injunction, Definition Services expects that,

upon the expiration of this lockup period, Definition Services’ valuable stock will

be almost immediately diverted away from it and dissipated.

         7.        For these and other reasons explained herein, Definition Services seeks

the entry of a prompt temporary restraining order and other relief necessary to

remedy the wrongdoing by GVA Capital.

                               JURISDICTION AND VENUE

         8.        This Court has subject matter jurisdiction over the claims set forth

herein pursuant to 10 Del. C. § 341, 6 Del. C. § 18-111, and the Delaware

Declaratory Judgment Act, 10 Del. C. § 6501, et seq.

         9.        This Court has jurisdiction over GVA Capital pursuant to 6 Del. C.

§ 18-109 in its role as a manager of GVA Auto, a Delaware limited liability

company.

         10.       Jurisdiction and venue in this Court is further appropriate pursuant to

Section 13.10 of the GVA Auto Operating Agreement, which provides:

         This Agreement shall be governed by, and construed under, the laws of
         the State of Delaware (without regard to conflict of laws principals), all
         rights and remedies being governed by such laws. The parties agree
         that any action brought by any party under or in relation to this
         Agreement, including without limitation to interpret or enforce any
         provision of this Agreement, shall be brought in, and each party agrees
         to and does hereby submit to the jurisdiction and venue of, any state or
         federal court located in Delaware, USA.



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                                FACTUAL BACKGROUND

A.       The Parties

         11.       Plaintiff Definition Services is a British Virgin Islands corporation.

Definition Services holds investments in three special purpose entities, discussed

below, which are managed directly or indirectly by GVA Capital.

         12.       Defendant GVA Capital is a San Francisco-based, Cayman Islands-

registered entity that manages three entities in which Definition Services holds

interests: (1) GVA Auto, a Delaware entity; (2) Startup Temple Group LLC

(“Startup Temple”), a Delaware entity; and (3) GVA Vestor.In Partners Fund, L.P.,

(“Vestor.In”), a Cayman Islands entity. On information and belief, GVA Capital’s

principals are Cherkashin, Odrison (which, on information and belief, is controlled

by Musaev), Roman Sobachevskiy, and Artem Smirnov.

B.       The Investments with GVA Capital

         13.       Prosperity Investments LP (“Prosperity”), Definition Services’

predecessor-in-interests, originally invested a total of $28 million with GVA Capital

across three investments. First, in August 2015, Prosperity made a $3 million capital

contribution in Vestor.In, an investment fund formed for the purpose of making

small seed investments in startup companies.




                                               6
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         14.       Next, in January 2016, Prosperity invested $5 million in Startup

Temple, which ultimately acquired property in San Francisco, California, to be

developed into a “co-working space” for startup companies in the Bay area.

         15.       Third and most significantly, in September 2016, Prosperity made a

capital contribution of $20 million in GVA Auto. GVA Auto’s sole purposes are to:

“(i) make, hold, and dispose of direct or indirect investments in Luminar

Technologies, Inc., a Delaware corporation …, and (ii) engage in any and all

activities related or incidental thereto.” Operating Agreement § 2.3.1 At the time of

the investment, Luminar was a startup company focused on developing technology

for autonomous vehicles.

         16.       GVA Auto did not directly invest in the shares of Luminar, but instead

invested the $20 million through a Simple Agreement for Future Equity Note (the

“SAFE Note”). The SAFE Note provided that in the event of a “Liquidity Event,”

GVA Auto would have the right to receive a number of shares of Luminar common

stock as determined by a formula set forth therein.

         17.       At the time of its capital contribution, Prosperity was the only investor

in GVA Auto. On June 29, 2017, Prosperity sold 5% of its position in GVA Auto

to Vladimir Smirnov for $1.5 million in cash. On information and belief, Vladimir

Smirnov is the father of GVA Capital member Artem Smirnov.

         1
             The Operating Agreement is attached hereto as Exhibit A.

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C.       The Operating Agreement

         18.       The Operating Agreement sets forth the parties’ rights and obligations

with regard to GVA Auto. GVA Capital is designated as the Manager of the entity,

but does not own any Percentage Interest in the company. See Operating Agreement

§ 1, Schedule A. Prosperity’s original 100% Percentage Interest in the company was

reflected on Schedule A to the Operating Agreement. Following the sale of a 5%

interest to Vladimir Smirnov in June 2017, Schedule A was modified to reflect

Prosperity’s 95% Percentage Interest. As such, Prosperity and Vladimir Smirnov

are the only “Members” of GVA Auto. See id.

         19.       Pursuant to Section 4.5(b) of the Operating Agreement, “[a]ll profit and

loss shall be allocated to the Capital Accounts of the Members in proportion to their

Percentage Interests.”

         20.       Section 5.2 of the Operating Agreement further provides as follows:

         Ordinary Distributions. Subject to the limitations of the Act and this
         Agreement, the Manager shall make prompt distributions of Available
         Cash (and in any event within 30 days after receipt of proceeds from
         the Portfolio Company) resulting from receipts attributable to, or
         proceeds from the disposition of, a Portfolio Company to the Members
         as follows:

         (a) First, 100% to the Members who have Net Investment amounts, in
         proportion to their relative amounts of Net Investment until the Net
         Investment of each Member has been reduced to zero;

         (b) Thereafter, (i) 90% to the Members pro rata to their Percentage
         Interest and (ii) 10% to the Manager (the “Carried Interest”).


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         21.       Stated differently, the Operating Agreement provides that each

Member shall receive back its invested capital and then any additional gains shall be

distributed 90% to the Members based on their percentage interests and 10% to the

Manager.

         22.       Under Section 5.3 of the Operating Agreement, the Manager has

discretion to “distribute assets in kind in the priority set forth in Section 5.2; provided

that for purposes of this Section 5.3, a distribution of an asset or an undivided interest

in an asset in-kind to a Member shall be treated as if the asset had been sold for fair

market value.”

         23.       Furthermore, the Operating Agreement, including the distribution

provisions and profit and loss allocation provision, may not be amended or modified

without the requisite written consent of the majority of its Members. Under Section

6.2 of the Operating Agreement, the Manager cannot adopt “any amendment to this

Agreement” without the “prior written approval of a Required Interest of Members,”

which is Members holding more than 50% of the Percentage Interests. Similarly,

Section 11.1 of the Operating provides: “This Agreement may not be modified or

amended without the written consent of the Manager and the Members holding a

Required Interest.”

         24.       Significantly, upon the vote of Members holding more than 50% of the

Percentage Interests, the Operating Agreement provides that GVA Capital may be


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removed as Manager in the event of “Misconduct by the Manager.” See Operating

Agreement § 9.2. This term is defined to include, among other things, a finding that

the Manager committed “fraud or any other act involving improper personal benefit

against the Company or its assets” or “willfully and materially breached [the

Operating Agreement].” Id. § 1. Upon GVA Capital’s removal as Manager, the

Members are entitled to appoint a new Manager. See id. § 9.3(a). As of the effective

date of the appointment of a successor Manager, such successor Manager shall have

the same rights and obligations as the original Manager has if the original Manager

had continued to act as Manager. See id.

D.       Prosperity Transfers Its Interests in the Investments to Definition
         Services

         25.       In connection with a restructuring in December 2018, Prosperity

transferred all of its interests in the GVA investment vehicles to Definition Services.

         26.       Specifically, through an Agreement of Assignment and Adherence (the

“Assignment Agreement”) dated December 19, 2018, Prosperity transferred and

assigned all of its “rights, title and interest in respect of its interest in” GVA Auto to

Definition Services. The Assignment Agreement, which was signed by Cherkashin

on behalf of GVA Auto, further provides that GVA Auto acknowledges, agrees and

confirms that “all requirements and conditions for the assignment of the Assigned

Interest and the admission of [Definition Services] as a member of the Company

have been satisfied or otherwise waived.” GVA Capital also approved of the

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Assignment Agreement and Definition Services’ admission as a member of GVA

Auto through written resolutions dated December 9, 2018, which were signed by

Ordison.

         27.       At the same time, Prosperity transferred its interests in the other two

GVA Capital-managed investments (Vestor.In and Startup Temple) to Definition

Services through substantially similar agreements.

         28.       Definition Services subsequently became aware that all of the

Assignment Agreements contained the same scrivener’s error. Specifically, the

Assignment Agreements referenced and purported to be with “Prosperity Investment

Ltd.” instead of “Prosperity Investments LP.” This slight error in Prosperity’s name

is immaterial given that no entity by the name of Prosperity Investment Ltd. ever

owned any interests in any of the companies. Moreover, following the execution of

the Assignment Agreements, GVA Capital recognized Definition Services as the

owner of the interests in all three managed entities. Once the error was identified,

representatives of both Prosperity and Definition Services signed corrected copies

of the Assignment Agreements.2




        By this time, Prosperity had been dissolved and terminated. Accordingly,
         2

the corrected copy of the GVA Auto Assignment Agreement was signed by the
former representatives of Prosperity.

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E.       Luminar Explodes In Value And Goes Public

         29.       By early 2020, Luminar was preparing to go public, and it was clear

that the company’s value had grown considerably. Luminar ultimately went public

on December 1, 2020, following its merger with Gores Metropoulos Inc. This

constituted a “Liquidity Event” under the SAFE Note and entitled GVA Auto to

receive an amount of Luminar stock. GVA Auto currently holds approximately

18,030,728 shares of Luminar common stock (the “Luminar Shares”). Based on

Luminar’s recent stock prices, the Luminar Shares have a value in the hundreds of

millions of dollars.

         30.       The Luminar Shares are currently subject to a lockup period restricting

their sale until June 1, 2021, after which time GVA Auto will receive the Luminar

Shares in its account. Prior to Odrison’s/Musaev’s attempt to undermine Definition

Services’ rights, GVA Capital’s intention was to promptly make an in-kind

distribution of the Luminar Shares to the GVA Auto Members based on their

percentage ownership, minus the “Carried Interest” to be paid to GVA Capital.

F.       GVA Capital Takes Steps to Prepare for Distribution of Luminar Shares
         to Definition Services

         31.       Up until April 8, 2021, GVA Capital took steps to prepare for

distribution of Definition Services’ rightful shares in Luminar pursuant to the

Operating Agreement. During this period, GVA Capital’s board was composed of

two directors: Odrison/Musaev and Cherkashin. Cherkashin had been involved

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since the formation of GVA Auto and served as Prosperity’s and then Definition

Services’ principal contact at GVA Capital concerning the GVA Auto investment.

         32.       In early March 2021, Cherkashin, on behalf of GVA Capital, reached

out to representatives of Definition Services to discuss the planned distribution of

the Luminar Shares, consistent with the terms of the Operating Agreement. In

particular, GVA Capital proposed entering into an agreement that would lay out the

process for the expected distribution of the Luminar Shares, including the amounts

that would be received by each of the Members and GVA Capital. The parties

agreed that GVA Auto would make the distribution promptly after the lockup

restrictions were lifted on June 1, 2021.

         33.       In connection with these discussions, GVA Capital sent Definition

Services’ representatives a draft “distribution model” that reflected Prosperity3

receiving Luminar Shares worth hundreds of millions of dollars. As such, GVA

Capital’s own model—showing how GVA Capital contemplated the distribution as

of only a few weeks ago—is directly contrary to Musaev’s Alleged Oral Agreement.




       Definition Services promptly reminded Cherkashin that the distribution
         3

would need to be made to Definition Services, not Prosperity. Cherkashin
subsequently acknowledged this was correct.
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G.       Musaev Alleges an Unenforceable Oral Agreement in an Effort to Steal
         Definition Services’ Profits

         34.       Even though GVA Capital’s and Definition Services’ discussions

concerning the distribution of the Luminar Shares were consistent with the

Operating Agreement, Musaev was not satisfied with the contractually agreed upon

allocation of gains from the investment.

         35.       On April 8, 2021, Cherkashin sent an urgent email to Definition

Services’ advisors, with whom he had been discussing the distribution of the

Luminar Shares, about an “Important matter.” The email indicated that Musaev

claimed to have reached several years ago an oral agreement with an individual

purportedly on behalf of Prosperity, whereby Prosperity would receive back its

initial investment in GVA Auto but that any loss or gain on the investment would be

realized by GVA Capital (the “Alleged Oral Agreement”). Cherkashin went on to

state that he had “not seen any evidence, other than Mr. Musaev’s account of his

conversation” supporting the actual existence of the Alleged Oral Agreement.

         36.       Cherkashin also raised concerns that Musaev would attempt to oust him

from GVA Capital for complying with GVA Capital’s obligations under the

Operating Agreement. His email stated:

         Until recently, I was confident that the transaction Mr. Musaev
         described could not occur without my approval. … Recently, however,
         I received the attached notice of an extraordinary meeting of GVA
         Capital’s shareholders on April 13, at which a resolution to remove me
         as a director will be considered. … If the resolution is approved and I

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         am removed, then my approval will no longer be needed for the
         transaction Mr. Musaev has described.

H.       Musaev’s Alleged Oral Agreement is Unenforceable

         37.       Cherkashin’s email was shocking for several reasons. First, the email

signaled a potential complete reversal of GVA Capital’s position with respect to its

duties and obligations under the Operating Agreement.

         38.       Second, even if Musaev’s assertion of the Alleged Oral Agreement was

true (which it is not), it would be unenforceable for numerous reasons. First, the

Operating Agreement is clear that “[a]ll profit and loss shall be allocated to the

Capital Accounts of the Members in proportion to their Percentage Interests” and

that the agreement shall not be amended except in writing. See Operating Agreement

§§ 4.5(b), 6.2. Yet there is no contemporaneous written evidence supporting

Musaev’s Alleged Oral Agreement. Accordingly, any such oral agreement violates

the plain terms of the parties’ written agreement.

         39.       Furthermore, none of the individuals purportedly involved in reaching

the alleged oral agreement had authority to bind the parties to it. The individual

whom Musaev identified as the representative who made the agreement on behalf of

Prosperity has never had any authority to act on behalf of either Prosperity or

Definition Services, let alone enter into any such agreement. Similarly, Odrison

(which is believed to be controlled by Musaev) was only one of the two directors of

GVA Capital. As explained above, the other director, Cherkashin, was unaware of

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the Alleged Oral Agreement at the time it was struck and never approved the

agreement.

         40.       In response to Cherkashin’s email, Definitions Services promptly

advised him that it firmly disputed Musaev’s Alleged Oral Agreement. And, on

April 10, 2021, Definition Services’ counsel wrote to GVA Capital’s purported

attorney, Grayver, disputing the existence of the Alleged Oral Agreement and

objecting to the attempt to remove Cherkashin.

         41.       In the letter, counsel stated that Definition Services “strongly

disagree[s] with the allegations concerning the purported oral agreement and

oppose[s] Odrison’s efforts to remove Mr. Cherkashin.” The letter further explained

that the Alleged Oral Agreement was not supported by any evidence except for

Odrison’s/Musaev’s self-serving assertions and, in any event, would be invalid and

unenforceable.         Indeed, the alleged counterparty to the agreement never had

authority to bind Prosperity or Definition. Moreover, the Alleged Oral Agreement

would violate the express terms of the Operating Agreement, which pursuant to its

terms can only be amended in writing.

         42.       Grayver, who upon information and belief replaced Cherkashin as a

director of GVA Capital and may stand to profit from the Alleged Oral Agreement,

never responded.




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I.       Cherkashin Disputes the Alleged Oral Agreement in Cayman Islands
         Court

         43.       On April 19, 2021, Cherkashin commenced an action in The Grand

Court of the Cayman Islands, Financial Services Division, challenging Odrison’s

and Musaev’s efforts to cause GVA Capital to implement the Alleged Oral

Agreement and seeking the appointment of independent joint receivers for GVA

Capital in order to prevent such conduct.4 In connection with this action, Cherkashin

filed an affidavit (the “Cherkashin Affidavit”) that revealed Odrison’s/Musaev’s

plan to spirit away the Luminar Shares so that they will not be subject to collection.

         44.       Cherkashin describes Musaev’s scheme as follows:

         Mr. Musaev planned to arrange the transfer of the [Luminar] Shares to
         GVA Capital without Definition’s knowledge or consent. From GVA
         Capital, Mr. Musaev intended to return to Definition or Prosperity only
         the amount of Prosperity’s original investment currently held by
         Definition (approximately US$18,500,000). The profit on that
         investment … would go to Mr. Musaev or an entity under his control.
         If Definition or Prosperity disagreed with Mr. Musaev’s receipt of the
         profit on the investment, they would have to bring legal action to
         recover the profit from Mr. Musaev.

(emphasis added). This plan would effectively render GVA Auto insolvent, as its

only asset is the Luminar Shares. It would also render GVA Capital effectively

judgment proof as the entity would be unable to satisfy any judgment once the

Luminar Shares are transferred to Musaev.



         4
             See Writ of Summons, attached as Exhibit B hereto.

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         45.       Cherkashin states that he objected to Musaev’s plan because “I had not

seen any concrete evidence that the Alleged Agreement in fact existed.” In response

to Cherkashin’s objections, Musaev threatened to remove his as a director of GVA

Capital and to dilute his interest in GVA Capital. Cherkashin explains that Musaev

carried out the first part of this threat by having Odrison notice the April 13, 2021

meeting of GVA Capital members.               Based on the minutes of such meeting,

Cherkashin understands that Musaev was successful in removing Cherkashin from

the board.

         46.       Cherkashin also explained, correctly, that “[t]he Alleged Agreement

appears to be prima facie invalid and unenforceable” and, if Mr. Musaev causes

GVA Capital to adopt and implement such purported agreement “it will expose GVA

Capital to significant financial and reputational damage.”

         47.       Significantly, Cherkashin—Musaev’s longtime business partner in

GVA Capital—also states that Musaev is a Russian national domiciled in the

Russian Federation, and that Musaev would not be “concerned about” breaching an

order made by the Cayman Islands court. For this reason, Cherkashin requests that

the Cayman Islands court enter an order appointing two independent receivers of

GVA Capital, who will be authorized to assume control of GVA Capital’s business

and operations.




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         48.       The Cayman Islands court has yet to issue any rulings related to

Cherkashin’s filings. Nonetheless, the additional facts revealed by the Cherkashin

Affidavit highlight the baseless nature of Musaev’s Alleged Oral Agreement, as well

as the imminent threat posed by Odrison’s/Musaev’s apparently successful effort to

take control of GVA Capital. In light of these troubling facts, Definition Services

has no choice but to seek temporary injunctive relief in this Court.

                                         COUNT I
                                  (Declaratory Judgment)

         49.       Definition Services incorporates each allegation above as if fully set

forth herein.

         50.       Definition Services is entitled to a declaration that all gain on the

Luminar investment shall be distributed in accordance with the Operating

Agreement.

         51.       Neither side of Musaev’s Alleged Oral Agreement—no matter which

individual he currently claims to have been his counterparty—actually had authority

to bind the respective parties. As for Prosperity and/or Definitions Services, the

individual allegedly involved in discussions with Musaev never had authority to bind

such entities to any agreement, let alone the outlandish agreement alleged by

Musaev. Similarly, it appears that Musaev never had authority to bind GVA Capital

to the Alleged Oral Agreement without the approval of Cherkashin, which was never

obtained.

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         52.       Musaev’s Alleged Oral Agreement is also directly contrary to the

express terms of the Operating Agreement, which provides that “[a]ll profit and loss

shall be allocated to the Capital Accounts of the Members in proportion to their

Percentage Interests.” See Operating Agreement § 4.5(b). This provision cannot be

amended through an oral agreement, as (i) Section 6.2 of the Operating Agreement

states that “the prior written approval of a Required Interest of Members” is required

for “any amendment” to the Operating Agreement and (ii) Section 11.1 of the

Operating Agreement similarly provides that the Operating Agreement may not be

modified or amended “without the written consent of the Manager and the Members

holding a Required Interest.” Yet there is no contemporaneous evidence supporting

Musaev’s Alleged Oral Agreement, let alone written consent of the parties.

         53.       Musaev’s Alleged Oral Agreement is also commercially unreasonable

and facially absurd. Musaev’s allegations are nothing more than a brash attempt by

an investment manager to seize his investor’s profits for himself.

         54.       Accordingly, Definition Services seeks a declaration that the Alleged

Oral Agreement is non-existent and unenforceable, and that all gains on Definition

Services’ investments (including the Luminar investment) must be distributed

pursuant to the express terms of the parties’ written agreements.




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                                        COUNT II
                              (Anticipatory Repudiation and
                     Entitlement to Remove GVA Capital as Manager)

         55.       Definition Services incorporates each allegation above as if fully set

forth herein.

         56.       Through the removal of Cherkashin from the GVA Capital board,

Odrison/Musaev seized control of the entity and has caused GVA Capital to take

positions that are directly contrary to the express terms of the Operating Agreement,

including a refusal to distribute the gains on the Luminar investment in accordance

with Sections 4.5 and 5.2, and instead insist that such gains should be distributed

directly to Musaev or his affiliates. This constitutes an anticipatory repudiation and

breach of material obligations under the Operating Agreement.

         57.       As a result of GVA Capital’s anticipatory repudiation and material

breach, Definition Services is entitled to an order of specific performance, requiring

that GVA Auto promptly distribute the Luminar shares once they become available

in accordance with the provisions of Sections 5.2 and 5.3 of the Operating

Agreement.

         58.       Definition Services is further entitled to an award of damages for the

injuries it has suffered and will continue to suffer as a result of GVA Capital’s

wrongful conduct, including damages as the result of any delay in receiving the

Luminar shares.


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         59.       In addition, Definition Services (as holder of a 95% interest in GVA

Auto) seeks a declaration that it is entitled to remove GVA Capital as Manager

pursuant to Section 9.2 of the Operating Agreement. Once removed, GVA Capital

will no longer be entitled to any portion of GVA Auto’s distributions under Sections

5.2(b) and 9.3(a) of the Operating Agreement.

                                        COUNT III
                                 (Breach of Fiduciary Duty)

         60.       Definition Services incorporates each allegation above as if fully set

forth herein.

         61.       As the Manager of the GVA Auto, GVA Capital owes the company and

its members, including Definition Services, fiduciary duties of care and loyalty.

GVA Capital has blatantly breached its fiduciary duties by attempting to usurp

Definition Services’ investment gains, which total hundreds of millions of dollars,

for itself and its new controller, Musaev. This brazen misconduct is a breach of

virtually every principle of fiduciary responsibility under Delaware law.

         62.       As a result of GVA Capital’s actions, Definition Services has been and

will continue to be damaged.

                                  PRAYER FOR RELIEF

         WHEREFORE, Definition Services demands judgment in its favor and

against GVA Capital as follows:



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         1.        Temporarily, preliminarily and permanently enjoining GVA Capital,

and/or its affiliates, from undertaking any distribution or transactions involving the

Luminar Shares, or any other investment related to Definition Services, until the

Court can determine the validity of the claims alleged herein;

         2.        Declaring that the Alleged Oral Agreement is nonexistent and

unenforceable;

         3.        Declaring, and entering an order of specific performance requiring, that

all gains on Definition Services’ investments, including the Luminar investment

through GVA Auto, shall be allocated and promptly distributed to Definition

Services pursuant to the express terms of the parties’ written agreements, including

the Operating Agreement;

         4.        Declaring that GVA Capital has anticipatorily breached material

obligations under the Operating Agreement and, as a result, Definition Services has

the ability to remove GVA Capital as Manager pursuant to Section 9.2 thereof;

         5.        Declaring that GVA Capital has breached its fiduciary duties to

Definition Services;

         6.        Awarding damages to Definition Services;

         7.        Awarding pre- and post-judgment interest to Definition Services;

         8.        Awarding Definition Services its costs and reasonable attorneys’ fees

incurred in connection with this action; and


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         9.        Granting such other and further relief as the Court may deem just and

proper.

                                            /s/ Brock E. Czeschin
                                            Brock E. Czeschin (#3938)
                                            Christian Roberts (#6694)
                                            RICHARDS, LAYTON & FINGER, P.A.
                                            One Rodney Square
                                            920 North King Street
                                            Wilmington, Delaware 19801
                                            (302) 651-7700
                                            Attorneys for Plaintiff Definition Services
 Dated: April 26, 2021                      Inc.




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                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
          UNSWORN VERIFICATION PURSUANT TO 10 Del. C. § 3927

         I, Markus Linder, a director of Definition Services, Inc. (“Definition

Services”), have been authorized by Definition Services to make this verification on

its behalf. I hereby verify that I have read the foregoing Verified Complaint Seeking

Temporary Restraining Order and Other Relief and that the facts recited therein are

true and correct insofar as they concern the acts and deeds of Definition Services,

and are believed by me to be true insofar as they concern the acts and deeds of any

other person or entity.

         Pursuant to 10 Del. C. § 3927, and the Delaware Supreme Court’s

Administrative Order No. 3, dated March 22, 2020, I declare under penalty of perjury

under the laws of Delaware that the foregoing is true and correct.



Executed on the 26th day of April, 2021

Markus Linder                                           (Printed Name)
                    Digitally signed by Markus Linder
                    Date: 2021.04.26 12:06:56 +02'00'
                                                        (Signature)




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                   EXHIBIT A
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                                       OPERATING AGREEMENT

                                                    оF
                                            GЧА AUTO, LLC

                         А DELAWARE LIMITED LIABILITY COMPANY


        This Operating Agreement of GVА Аutо, LLC (the "Company") is entered into as of June 29,
2017 (the "Еffеg!iуgДа!g") Ьу and among the Members (as defined below).

l.      Definitions. The following tеrms will have the following meanings:

       "Accredited Investor" has the meaning assigned to suсh term uпdеr Rule      50l of Regulation D,
promulgated uпdеr the Securities Act.

        "АФ"   iS the Dеlаwаrе   Limited Liability Company Act.

         "Affiliate" means (i) а Person who is а mеmЬеr, dirесtоr, officer, general раrtпеr оr employee of
the Реrsоп being considered; оr (ii) а Person directly оr indirectly controlling оr controlled Ьу оr uпdеr
direct оr indirect соmmоп control with the Реrsоп being considered.

        "Agreement" means this Operating Agreement, as amended.

         "Available Cash" means, at а раrtiсulаr time, the cash and cash equivalents held Ьу the Соmрапу
less such cash reserves as the Мапаgеr rеаsопаЬlу determines are necessary to рау on а timely basis costs
and expenses of any Proceeding оr Indemnification Obligation, taking into account the anticipated
rечепчеs of the Соmрапу.

        "Business" is defined in Section 2.3.

        "Business Day" is any day оп which all major banks in the State of California аrе open for
business.

        "Capital Accounts" is defined in Section 4.6(а).

         "Capital Contributions" means fоr any МеmЬеr at the раrtiсчlаr time in question the aggregate of
the dollar amounts of any cash and cash equivalents contributed Ьу such МеmЬеr to the capital of the
Company, plus the value, as determined Ьу the Мапаgеr, of апу рrореrtу contributed Ьу such МеmЬеr to
the capital of the Соmрапу.

         "Сагryiпg Value" means (а) with respect to рrореrtу contributed to the Company Ьу а МеmЬеr,
the value of such рrореrfу at the time of contribution as determined Ьу the Manager and (Ь) with respect
to any оthеr рrореrý held Ьу the Соmрапу, the adjusted basis of such рrореrtу for federal income tax
purposes at the time it is acquired Ьу the Соmрапу, in the case of each of the foregoing (i) as reduced (but
not below zero) Ьу all subsequent depreciation, cost rесочеry, depletion and amortization deductions with
respect to such ргореrtу as taken into account in determining profit and loss and (ii) as adjusted frоm time
to time in ассоrdапсе with Section l0.2(b) and Тrеаsury Regulation ý 1.704 l (b)(2)(iv)(m), and to rеflесt
changes, additions оr оthеr adjustments to the Carrying Value for dispositions, acquisitions оr
improvements of Соmрапу рrореrtiеs, as deemed аррrорriаtе Ьу the Manager.

        "Code" is the Internal Revenue Code of 1986, as amended.
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        '(С9щрщ"       is defined in the introductory paragraph.

        "Confidential Matter" is defined in Section l3.7.

        "Effective Date" is defined in the introductory paragraph.

        "Event of Вапkruрtсу" is апу of the following:

                 (а)      апу assignment Ьу such раrý for the benefit of creditors;

                 (Ь)      the filing Ьу such раrtу of а voluntary petition in bankruptcy;

                  (с) the subjection of such party to the entry of ап оrdеr fоr relief or, following а
hearing and judicial оr оthеr authoritative determination thereof, to а declaration of insolvency in any
federal оr state bankruptcy оr insolvency proceeding;

                 (d)      the filing of а voluntary petition оr апswеr Ьу such party seeking fоr such party, а
reorganization, аrrапgеmепt, composition, readjustment, liquidation, dissolution, оr similar relief uпdеr
any law;

                  (е) the filing of ап апswеr оr оthеr pleading Ьу such раrfу admitting all of оr
failing to contest at least one of the material allegations of an involuntary petition filed against such раrý
in а proceeding ofthe type described in (Ь)    -    (d) above;

                 (0         such раrtу's pursuit of, consent to, оr acquiescence in the appointment of а
trustее, rесеiчеr, оr liquidator ofsuch раrý ofall оr апу substantial part ofsuch party's properties ifsuch
pursuit, consent оr acquiescence is demonstrably evidenced Ьу the actions оr omissions of such party; оr

                  (е) the expiration of 120 days аftеr the date of the commencement оf а proceeding
against such party seeking reorganization, аrrапgеmепt, composition, readjustment, liquidation,
dissolution, оr similar геliеf uпdеr апу law if the proceeding has not Ьееп previously dismissed, оr the
expiration of 90 days after the date of the appointment, without such раrý's consent оr acquiescence, of а
trustee, rесеiчеr, оr liquidator of such раrtу оr of all оr any substantial рак of such party's properties if
the appointment has not previously been vacated оr stayed, оr the expiration of 90 days аftеr the date of
expiration of а stay, if the appointment has not previously Ьееп vacated.

        "Family МеmЬеrs" include:

                 (а)      the spouse, раrепts, grandparents, children, grandchildren, nieces, nephews, and
siblings of
                          (i)       а МеmЬеr who is an individual,

                          (ii)      the beneficiary of а МеmЬеr that is а trust and such beneficiary has
а right, together with other   Family МеmЬеrs of such beneficiary, to rесеiче а majority of the trust assets,
оr

                          (iii)     the sole holder of equity оr other controlling interest in а МеmЬеr if such
Member is а business entiý;

                 (Ь)      а trust for the benefit   of

                          (i)       the transferring МеmЬеr,

                          (ii)      one оr mоrе Persons named in раrt (а) of this definition.
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                (с)       а business   entiý in which   а МеmЬеr is the sole holder of equity оr otherwise
controls such entiý.

        "Family Transfer" is defined in Section 8.2.

        "Follow-On Investment Contribution Amount" is defined in Section 4.3(а).

        "Fоllоw-Оп Investment Contribution Notice" is defined in Section а,3(а).

        "Follow-On Investments" is defined in Section 4.3.

         "Gочегпmепtаl Authority" is any nation оr gочеrпmепt, апу state оr other political subdivision
thereof and any other Реrsоп exercising executive, legislative, judicial, regulatory or administrative
functions of or pertaining to gочеrпmепt.

        "Jndemnification obligation" means апу indemnification obligation and any оthеr indemniý
contribution or reimbursement obligations of the Соmрапу with respect to any реrsоп, whether payable in
connection with а Proceeding involving the Соmрапу оr otherwise.

         "Indemnified Person" means the Manager and its mеmЬеrs, mапаgеrs, officers, employees,
directors and other agents. The Manager may, at its sole discretion, designate any Member, employee,
representative, оr other Реrsоп as an additional Indemnified Реrsоп.

        "Independent" of а Реrsоп means: (а) having по direct оr indirect financial interest in that Person;
and (Ь) having no other involvement with that Реrsоп that would create а conflict of interest.

        "InitialCapitalContribution" is defined in Section 4.1.

        "Initial Closing" means the date on which the first МеmЬеrs аrе admitted to the Company.

         "h!glgý!" оr "MembershiD Interest" means, with respect to апу МеmЬеr, (а) that МеmЬеr's status
as а МеmЬеr, (Ь) that Member's Capital Account and shаrе of the Profits, Losses and оthег items of
income, gain, loss, deduction and credits of, and the right to rесеiче distributions (liquidating оr
otherwise) from, the Company under the tеrms of this Agreement, (с) all оthеr rights, benefits, and
privileges enjoyed Ьу, and obligations of, such МеmЬеr (under the Act оr this Agreement) in its capaciý
as а МеmЬеr, including that МеmЬеr's rights to vote, consent and approve those matters described in this
Аgrееmепt, and (d) all obligations, duties and liabilities imposed оп that МеmЬеr under the Act оr this
Аgrееmепt in its capacity as а МеmЬеr.

        "Investment" is defined in Section 2.3.

        "Investment Соmрапу       дсt"   is the Investment Company дсt of l940, as amended.

        "МщщI"         means   GVA Capital Ltd., а Сауmап    Islands exempt limited company.

          "Members" are the Реrsопs admitted as Members pursuant to Section З.1 . The initial МеmЬеrs
аrе listed оп schedule А hereto.

          "Misconduct" shall have оссurrеd if the Manager is found Ьу а соuгt of competent jurisdiction of
first impression to have (а) committed (оr enters а plea of nolo contendere to having committed)
embezzlement, fraud оr апу оthеr act involving material imрrореr personal benefit against the Company
оr its assets, (Ь) willfully and materially breached this Agreement, which Ьrеасh remains uncured as of
the date of such finding, in а manner which had а material аdчеrsе effect on the Соmрапу, as found Ьу а
соurt of competent jurisdiction of first impression оr (с) knowingly violated any law in а mаппеr which
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had, оr could have had, а material adverse effect on the Company, as found Ьу а соurt of competent
jurisdiction of first impression.

        "Net Investment" means, as of any date the total Capital Contributions made Ьу the МеmЬеr
reduced Ьу the total amount previously distributed to that МеmЬеr pursuant to Section 5.2 and Section
10.2; and which includes such Member's portion of the Setup Fее оr any оthеr expenses paid Ьу such
МеmЬеr on behalf of the Company; provided that such expenses have Ьееп approved Ьу the Мапаgеr.

        "Реrсепtаgе Interests" mеапs, fоr each МеmЬеr, а percentage equal to such МеmЬеr's total
Capital Contributions in the Соmрапу divided Ьу the total Capital Contributions of all Members. The
Percentage Interests of the МеmЬеrs shall Ье adjusted from time to time as provided in this Agreement.

          "Реrsоп" is ап individual, partnership, limited partnership, limited liability partnership, limited
liability company, соrроrаtiоп, trust оr unincorporated organization ог other entity, and а government оr
agency оr political subdivision.

        "Роrtfоliо Соmоапу" means Lumiпаr Technologies, Inc.

        "Proceeding" means any action, claim, suit, investigation оr arbitration оr proceeding involving
the Company's activities, whether at law оr in equiý, and whether Ьу оr before any сочrt, arbitrator,
gочеrпmепtаl body оr other administrative, regulatory оr other agency оr commission.

        "Рrоfit оr Loss" means the income оr loss of the Соmрапу as determined under the capital
accounting rules of Treasury Regulation ý \.'l04 1(b)(2)(iv) for purposes of adjusting the Capital
Accounts of МеmЬеrs, including, without limitation, the provisions of раrаgrарhs 1.704 1(b)(2)(iv)(g)
and 1.704 1(Ь)(4) of those regulations relating to the computation of items of income, gain, deduction and
loss.

         "Rесарtчrе Income" means any gain recognized Ьу the Company (Ьut computed without rеgаrd
to any adjustment required Ьу Sections 7З4 апd 743 оf the Code) uроп the disposition of any рrореrrу оr
asset оf the Соmрапу that does not constitute capital gain fоr fеdеrаl income tax purposes because such
gain represents the rесарfurе оf dedцctions previously taken with respect to such property оr assets.

        "Required Interest" means Members holding, individually оr in the аggrеgаtе, mоrе than fifty
percent (50%) of the Percentage Interests.

        "Representative" is defined in Section 10.2.

         "Securitb" оr'oSecuritу" means securities of every kind and nature and rights and options, rights
оr warrants with respect thereto, including capital stock, notes, bonds, debentures, instruments оr
evidences ofindebtedness, trust receipts and other business interests ofevery type, including interests in
partnerships, joint ventures, proprietorships and оthеr business entities.

        "Securities Act" is the Securities Act of 1933, as amended.

        "Securities Exchange дсt" is the Securities Exchange дсt of l9З4, as amended.

        "Setup Fее" is defined in Section 6.9.

        "Substitute МеmЬеr" is any Person admitted to the Соmрапу as а substitute МеmЬеr рчrsuапt to
Section 8.3.

        "Transfer. Transferring" means а sale, assignment, transfer, exchange, mortgage, pledge, оr grапt
of а security interest, оr other disposition оr епсumЬrапсе, оr the act of making such а sale, assignment,
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trапsfеr, exchange, mortgage, pledge, оr grапt of а security interest. оr other disposition оr епсumЬrапсе,

        "Тrеаsury Regulations" means regulations issued Ьу the Department of Treasury under the Code.
Апу rеfеrепсе hеrеiп to а specific section or sections of the Treasury Regulations shall Ье deemed to
include а rеfеrепсе to any corresponding provision оffчtчrе regulations under the Code.

2.      Organization.

        2,1 Fоrmаtiоп. The parties to this Agreement ratify the filing of the Certificate of Formation
of the Соmрапу that were filed with the Delaware Sесrеtагу of State as of July 1 8, 20 1 б pursuant to the
provisions of the Act and in accordance with the furthеr tеrms and provisions of this Agreement.

        2.2     Name. The name of the Соmрапу is      GVА AUTO, LLC       оr such other паmе оr names as
may Ье selected Ьу the Мапаgеr.

         2.З Purpose. The business of the Соmрапу shall Ье to (i) make, hold and dispose of direct оr
indirect investments in Luminar Technologies, Inc., а Delaware corporation (the "lд_уýýI!ц9Ш"), and (ii)
engage in any and all activities related оr incidental thereto (together, the "Business").

        2,4      Places of Business: Registered Office and Agent. The address of the registered office of
the Company in the State of Delaware is Corporation Trust Сепtеr, 1201 Оrапgе Street, Suite 600,
Wilmington, Delaware l9899; and the паmе of the registered agent of the Company at such address is
Iпсоrр Services Inc. Company's principalplace of business will Ье located atthe location determined Ьу
the Мапаgеr frоm time to time on notice to the other Members.


        2.5      Fiscal Yеаr. The fiscal уеаr of the Company will end оп the 3l st day of DесеmЬеr in
each уеаr. The Manager will have authority to change the ending date of the fiscal year to any other date
required оr allowed чпdеr the Code if the Мапаgеr determines that such change is necessary оr
аррrорriаtе. The Мапаgеr will promptly give notice of апу such change to the Members.

з.      МеmЬеrs.

       З.l Members. The Соmрапу will consist of those МеmЬеrs who аrе а раrtу to this
Agreement and such substituted МеmЬеrs as may Ье admitted to the Соmрапу pursuant to Section 8. The
Мапаgеr shall have the right to admit Members, and to rесеiче additional Capital Contributions frоm
existing Members with the approvalof Required Interest.

      З.2 Interests. Each Member (other than the Manager) will have а Membership Interest in the
Соmрапу that is рrороrtiопаl to that МеmЬеr's Percentage Interest then in effect.

         З.З Liabilit_v of Members. The liability оf the МеmЬеrs will Ье limited to the fullest extent
possible under the Act. No МеmЬеr other than the Мапаgеr shall take раrt in the control, management,
direction оr operation of the affairs of the Соmрапу, unless otherwise expressly provided in this
Agreement, оr specifically required uпdеr the Act, оr shall have апу роwеr to bind the Соmрапу in their
capacity as МеmЬеrs.

       3,4 Соmрапу РrореЦ. No real оr оthеr рrореrtу of the Соmрапу will Ье deemed to Ье
owned Ьу апу МеmЬеr individually, but will Ье owned Ьу and title will Ье vested solely in the Соmрапу.

        3.5     Meetinqs. Meetings of the МеmЬеrs for any purpose mау Ье called only Ьу the Мапаgеr
оr а Required Interest of Members. The Мапаgеr shalldesignate the place for any meeting and the
Manager оr Members calling the meeting shall give notice thereof not less than 5 calendar days' рriоr to
the meeting date. А Required Interest of МеmЬеrs, represented in реrsоп оr Ьу рrоху, shall Ье necessary
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to constitute а quоrum at meetings of the МеmЬеrs.

         3.6 Action Ьу Written Consent. Any action of the МеmЬеrs may Ье taken without а meeting
if evidenced Ьу а written consent describing the action taken and signed Ьу the requisite пumЬеr of
МеmЬеrs required to аррrоче such action. МеmЬеr action taken under this Section 3.6 shall Ье effective
when the required пчmЬеr of МеmЬеrs have signed the consent, оr such other effective date specified in
such consent.

4.      Capital Contributions and Capital Accounts.

        4.1 Capital Contributions: Investments. The МеmЬеrs аrе each making an initial Capital
Contribution in the amount shown оп the МеmЬеr's Subscription Аgrееmепt (the "Initial Capital
Contribution" for each such МеmЬеr). No МеmЬеr will Ье required or obligated to make any additional
Capital Contributions other than as provided in Section 4.3.

        4.2     Expenses. The Мапаgеr shall Ье responsible for the payment of all Administrative
Expenses.

        4.З       Follow-On Investments: Admission of New Members. Members shall have the right, but
not the obligation, to make additional Capital Contributions to enable the Соmрапу to exercise its рrе-
emptive rights with respect to any new issuances of Securities Ьу Portfolio Company ог its right of first
refusal rights with respect to the sale of any Securities of the Portfolio Соmрапу Ьу оthеr stockholders of
the Portfolio Company ("Follow-On Investments").

                 а. The Manager shall deliver to the МеmЬегs а written notice (а "Follow-On
Investment Contribution Notice") setting foпh а reasonably detailed description of the terms and
conditions of the FоIlоw-Оп Investment, including the amount thereof (the "Follow-On Investment
Contribution Amount") and the МеmЬеrs' рrо rata shares оf the Follow-On Investment Contribution
Amount which shall Ье based uроп their then respective Percentage Interests

                Ь.    If within 7 days аftеr delivery of а Follow-On Investment Contribution Notice,
а МеmЬеr does not subscribe for all of its рrо rata shаrе of the Follow-On Investment Contribution
Amount, the Мапаgеr mау elect to take апу of the following actions (оr any combination thеrеоf): (i)
suЬsсriЬе fоr all оr раrt of the unsubscribed amount itself оr (ii) and solicit, obtain and accept
subscriptions from and third parties, for the unsubscribed portion of the Follow-On Investment
contribution Amount on the terms set forth in the Follow-on Investment Сопtriьutiоп Notice.

         4.4 No Third Рацч Right to Епfоrсе. No Person other than а МеmЬеr shall have the right to
епfоrсе апу obligation of а МеmЬеr to contribute capital hereunder and specifically no lender оr оthеr
third раrtу shall have any such rights.

        4.5     Capital Accounts: Allocation of Profits оr Losses.

                (а)    А capital account fоr each МеmЬеr shall Ье established and maintained in
ассоrdапсе with Section 704(Ь) of the Iпtеrпаl Revenue Code of l986, as amended (the "Code"), and      the
regulations promulgated thеrеuпdеr ("Capital Accounts"). The Company's net рrоfit, net loss and items
thereof shall Ье allocated to the capital accounts of the Members оп an annual basis, at the end of each
calendar уеаr, in the mаппеr rеquirеd Ьу Code Section 704(Ь) as determined Ьу the Мапаgеr and in
ассоrdапсе with this Agreement.

                (Ь)     All profit  and loss shall Ье allocated to the Capital Accounts of the Members in
proportion to their Percentage lnterests.
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                  (с)    If additional Members are admitted to the Соmрапу subsequent to the
formation of the Company, then allocations of рrоfit and loss (including, without limitation Соmрапу
expenses) attributable to periods subsequent to the formation of the Company shall Ье adjusted Ьу the
Manager as necessary to, as quickly as possible, cause the capital account balances of the МеmЬеrs to
reflect the same amounts that they would have reflected if all МеmЬеrs had been admitted to the
Соmрапу and made all of their Capital Commitments at the same time at the fоrmаtiоп of the Соmрапу
and had received allocations of profit and loss in ассоrdапсе with Sections 4.6(а) and 4.6(Ь), all as the
Manager mау in its discretion dеtеrmiпе to Ье equitable.

5.        Distributions.

         5.1 No Right to Withdraw. No МеmЬеr will have the right to withdraw оr demand а
distribution frоm the Соmрапу.

         5.2 Оrdiпаrу Distributions. Subject to the limitations of the Act and this Аgrееmепt, the
Мапаgеr shall make рrоmрt distributions of Available Cash (and in апу event within 30 days after receipt
of proceeds frоm the Portfolio Соmрапу) resulting frоm receipts attributable to, оr proceeds from the
disposition of, а Portfolio Company to the Members as follows:

                 (а) First, 100% tо The Members who have Net Investment amounts, in рrороrtiоп to
their relative amounts of Net Investment until the Net Investment of each Меmьеr has been reduced to
zeroI

                 (Ь)   Thereafter, (i) 90% to the МеmЬеrs рrо rаtа to their Реrсепtаgе Interest and (ii)
10% to the Manager (the "Carried Interest").

          5.З     Distributions in Kind. The Manager may, in its sole discretion, distribute assets in kind in
the priority set fоrth in Section 5.2; provided that fоr purposes of this Section 5.3, а distribution of ап
asset оr an undivided interest in ап asset in-kind to а Меmьеr shall Ье treated as if the asset had been sold
fоr its fаir mаrkеt value, any gain or loss (determined with respect to its Carrying Value) had been
allocated pursuant to the applicable provisions of Section 4.6, and ап amount equal to the fair market
value of such asset оr undivided interest had been distributed uпdеr the applicable provisions of this
Section   5.


        5.4 Withholding. NoМithstanding anything else contained in this Аgrееmепt, the Мапаgеr
mау, in its rеаsопаЬlе discretion, withhold from апу distribution of cash оr рrореrrу in-kind to any
МеmЬеr pursuant to this Agreement, the following:

                  (а) as necessary оr appropriate to cause the Company to comply with any foreign or
federal, state оr local withholding requirement with respect to any allocation, payment оr distribution Ьу
the Company to any МеmЬеr оr other Реrsоп.

                  (Ь) any amounts due from such МеmЬеr to the Соmрапу оr the Manager ог
attributable to sчсh МеmЬеr pursuant to this Agreement to the extent not otherwise paid (including,
without limitation, such Memberos shаrе of expenses relating to any Proceedings and Indemnification
ObIigations)

        5.5 Final Distribution. The final distributions following dissolution of the Company will Ье
made in ассоrdапсе with the provisions of Section l0.

6.        Management.

          6.1   Management Ьу the Мапаgеr. The Manager will have full responsibiliý fоr and charge          of
the overall management, control and administration of the Соmрапу in all respects. All determinations
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made and actions taken Ьу the Мапаgеr pursuant to this Agreement wilI Ье binding on and conclusive as
to all of the Members and will not Ье subject to question оr rечiеw Ьу any МеmЬеr in апу suit оr
proceeding except to the extent that any such suit оr proceeding involves an alleged violation of the
standards set forth in the Act. То the fullest extent permitted Ьу law, the Members hereby consent to the
exercise Ьу the Manager of the роwегs сопfеrrеd on it Ьу this Agreement. The Manager may delegate
authoriý to its Affiliates and others. The Manager will hаче all specific rights and powers rеquirеd оr
аррrорriаtе to manage the Соmрапу, including, without limitation, the power and authoriý to do the
following (except to the extent that any of the following powers аrе specifically limited оr restricted Ьу
any other provision of this Agreement):

                (а)     originate the Company's investments in Portfolio Company;

                (Ь) monitor and evaluate the Company's investments in Portfolio Соmрапу and
otherwise rерrеsепt the Company's interests with respect to Portfolio Company in all respects;

                (с)     exercise the voting rights uпdеr all Securities of Portfolio Соmрапу owned Ьу
the Соmрапу;

                (d)     administer the overall operation of the Company;

                (е) initiate, participate in and settle judicial, arbitration, administrative оr similar
proceedings to protect the assets of the Company, епfоrсе the Company's rights or otherwise defend the
interests of the Соmрапу;

                 (f) sell оr otherwise dispose of all оr substantially all of the assets of the Соmрапу,
including all Securities of Portfolio Соmрапу;

                (е)       retain (as consultants and not employees) (and cause the Соmрапу to рау all fees
and expenses of such Persons) Persons to render legal and accounting seгvices to the Соmрапу as may Ье
necessary fоr the efficient operations of the Соmрапу;

                (h)     make, оr cause to Ье made, payment Ьу the Company any and all expenses that
may Ье necessary fоr the operation, administration оr management of the Company;

                (i)        sue, complain and defend, in the паmе of and on behalf of the Соmрапу, and to
settle, adjust, submit to arbitration and compromise all actions, suits, accounts, reckonings, claims and
demands whatsoever now оr hеrеаftеr pending beМeen the Соmрапу and any other раrtу (оthеr than а
МеmЬеr); and

              0) do any оthеr acts that the Manager deems advisable to furthеr the purposes of the
Соmрапу and that аrе not prohibited Ьу this Agreement оr applicable law.

        6,2 Certain Actions Ьу the Мапаgеr. The following actions shall require the рriоr written
approval of а Required Interest of Members:

                (а)     any mеrgеr, reorganization, consolidation, dissolution оr similar restrucfuring   оf
the Company;

                (Ь)     а change to the Business of the Соmрапу;

                (с)     any amendment to this Agreement;

                (d)     an investment of Company funds in any investment except Portfolio Соmрапу;
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                 (е) any other decision оr taking any action with respect to the Соmрапу that
specifically requires the аррrочаl of the МеmЬеrs pursuant to this Agreement.

        6.З      Intentionally Left Blank.

        6.4 No Guarantee Ьу Мапаgеr. The Manager does not guarantee the rеturп of the МеmЬеrs'
Capital Contributions or а profit for the Members frоm the operations оf the Соmрапу.

        6.5      Reliance Ьу Тhiгd Рагtiеs. No third раrtу dealing with the Соmрапу shall Ье required to
ascertain whether the Manager is acting in ассоrdапсе with the provisions of this Agreement. All third
parties mау rely on а document executed Ьу the Мапаgеr as binding on the Соmрапу.

        6.6      Indemnitv of the Мапаgеr. Emplo}zees. Оthеr Agents and Оthеr Indemnified Persons.

                  (а) Indemnification - Generally. Ап Indemnified Реrsоп will receive liability
protection to the fullest extent provided Ьу the Act. Моrеочеr, an Indemnified Реrsоп will not Ье
personally liable fоr any arbitration award, dесrее, оr judgment оr оthеr proceeding for апу debt,
obligation, оr liability of the Соmрапу, whether that liability оr obligation arises iп contract, tort, оr
otherwise.
                  (Ь) Indemnification - Specifically. Subject to the limitations of the Асt:
                        (i) An Indemnified Person carrying out his, hеr, or its duties uпdеr this
Agreement will not Ье liable to the Соmрапу поr to апу МеmЬеr for апу acts, omissions, or еrrоrs of
judgment the Indemnified Person believed wеrе taken in good faith and within the scope of authority
сопfеrrеd Ьу this Agreement.

                          (ii) An Indemnified Реrsоп is not liable to the Соmрапу оr any МеmЬеr for
any acts, omissions, оr еrтоrs ofjudgment of any agent appointed Ьу the Indemnified Реrsоп to реrfоrm
апу of the duties of the Indemnified Реrsоп uпdеr this Аgrееmепt.

                         (iii) Ап Indemnified Реrsоп will not Ье liable to the Соmрапу оr any МеmЬеr
for the Indemnified Person's good faith reliance on (А) the books and records of the Company оr (В)
information, opinions, rероrts оr statements provided to the Соmрапу Ьу any Реrsоп as to matters such
Indemnified Реrsоп rеаsопаЬlу believes аrе within such оthеr Person's professional оr expert competence
(e.g., ап economic rероrt published Ьу an economist оr an accounting report created Ьу an accountant).

                 (с)       Limitation. In all cases, indemnification will Ье provided up to the extent of the
net, liquid assets оf the Соmрапу and no МеmЬеr will have any personal liabiliý fоr such expenses.

                (d) Advances. Expenses (including legal fees and expenses) iпсurrеd Ьу ап
Indemnified Реrsоп in defending апу claim, demand, action, suit оr proceeding subject to sub-Section (а)
аЬоче will Ье paid Ьу the Company in advance оf the final disposition оf such claim, demand, action, suit
оr рrосееdiпg чроп receipt ofan undertaking (which need not Ье secured) Ьу оr on behalfofthe
Indemnified Реrsоп to rерау such amount if it will ultimately Ье finally determined Ьу а court of
competent jurisdiction and not subject to appeal, that the Indemnified Person is not entitled to Ье
indemnified Ьу the Соmрапу as authorized hеrеuпdеr.

        6.7      Investments and оthеr Actions.

                  (а) Authority. The Мапаgеr is hereby authorized to execute оr cause to Ье executed
all instruments, certificates, notices and documents, and to do оr cause to Ье done all such filing,
recording, publishing and other acts as may Ье deemed Ьу the Мапаgеr to Ье necessary оr appropriate to
comply with all applicable requirements for the formation оr operation оr, when аррrорriаtе, termination
of а limited liability company in the State of Delaware and in all оthеr jurisdictions whеrе the Соmрапу
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does оr will desire to conduct its business. Specifically, the Manager is hеrеЬу authorized to execute оr
cause to Ье executed all of the documents necessary to make investments in Portfolio Соmрапу.

                       (Ь)Further Assurances. If requested Ьу the Мапаgеr, the МеmЬеrs will immediately
execute all certificates and other documents consistent with the terms of this Agreement necessary fоr the
Мапаgеr to accomplish all filing, rесоrdiпg, publishing and оthеr acts as may Ье аррrорriаtе to comply
with all requirements for the lawful organization and existence of the Соmрапу as а limited liability
company, in all jurisdictions whеrе the Соmрапу рrороsеs to operate, and all other filings required to Ье
made Ьу the Company.

             6.8       Оthеr Business Оцlоrtuпitiеs: Affiliate Transactions: Conflicts.

                       (а)Each МеmЬеr acknowledges that the Manager, the other Members and their
respective Affiliates аrе оr mау Ье active in оthеr business activities and shall Ье frее to independently
engage, invest оr participate for thеir оwп account in, and rесеiче the full benefits from, апу business Оr
activity, without consulting with the Соmрапу оr the МеmЬеrs and without offering апу right to
participate therein to the Соmрапу or any оthеr МеmЬеr.

                  (Ь) The Мапаgеr mау, оп behalf of the Соmрапу, enter into contracts, agreements,
undertakings and transactions with МеmЬеrs, оr with Persons, firms оr corporations having business,
financial оr other relationships with Members, provided that such transactions with such Persons and
entities аrе on terms no less fачоrаЬlе to the Company than аrе generally available to unrelated third
parties in соmраrаЬlе transactions.

(с)      It is specifically contemplated Ьу the Members that the Manager and its Affiliates mау Ьесоmе
actively involved in assisting Portfolio Соmрапу through advice, counsel, and other means. Unless
otherwise agreed Ьу the Members, which consent shall not Ье unreasonably withheld, апу compensation
rесеiчеd Ьу the Manager ог its Affiliates in connection with the foregoing activities shall Ье for the
account of the Соmрапу and shall Ье deemed income and asset of the Соmрапу. The Manager and its
Affiliates shall promptly disclose to the МеmЬеrs апу interest they may have in the Portfolio Соmрапу оr
any dealings with the Portfolio Соmрапу for which they have received апу compensation..

        6.9 Setuo Fее. Оп the Effective Date оr as soon as commercially геаsопаЬlе thereafter, the
Company shall рау to the Manager а one-time setup fee ("Setup Fее"). The Setup Fее attributable to each
МеmЬеr shall equal 1.0% (опе percent) of the Capital Contribution of such МеmЬеr attributable to the
investment Ьу the Соmрапу in the Portfolio Company. Ву way of example, the Capital Contribution of
NEW MEMBER allocable to the investment in the Portfolio Соmрапу is $1,500,000 and the Setup Fее is
$   1   5,000.

        б.l0 Operating Expenses. The Мапаgег shall Ье solely responsible fоr all of the operating
expenses of the Соmрапу and shall not receive апу compensation frоm the Соmрапу other than the Setup
Fее and the Саrriеd Interest.

7.           Books of Account, Records and Reports.

             "7
                  ,|
                  Maintenance of Books and Records. The Соmрапу will maintain books and rесоrds in
such mаппеr as is utilized in preparing the Company's federal information tax rеturп in compliance with
Section 603 1 of the Code, and such оthег records as may Ье required in connection with the preparation
and filing of the Company's rеquirеd federal, state and local iпсоmе tax rеtчrпs оr other tax returns оr
reports of foreign jurisdictions, including, without limitation, the rесоrds reflecting the Capital Accounts
and adjustments specified in Section 4. All such books and records will at all times Ье made available at
the ргiпсiраl office of the Company and will Ье open to the reasonable inspection and examination of the
МеmЬеrs оr their duly authorized representatives during поrmаl business hours.
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         7.2 Fеdеrаl. State and Local Income Тах Information. The Manager will use its соmmегсiаllу
rеаsопаЬlе еffоrts to cause the Соmрапу to transmit to each Реrsоп who was а МеmЬеr at апу time during
the fiscalyear then ended (including any permitted assignee of а МеmЬеr who so requests iп writing) ап
IпtеrпаI Revenue Sеrчiсе Schedule К- l and such Соmрапу tax information as is legally required fоr the
рrераrаtiоп Ьу such Реrsоп of federal, state and local tax returns in accordance with any applicable laws,
rules and regulations then prevailing. The Manager will use its discretion to obtain extensions fоr filing as
needed. Each МеmЬеr understands and agrees that the tax returns for the Соmрапу may Ье delayed so
that it may Ье necessary for each МеmЬеr to obtain extensions for the filing of their оwп tax rеtчrпs. Such
information will include а statement showing such Person's shаrе of distributions, income, gain, loss,
deductions and credits and other rеlечапt fiscal items of the Соmрапу fоr such fiscal уеаr. Promptly upon
the request of any МеmЬеr, the Мапаgеr will cause the Соmрапу to furnish such МеmЬеr all United
States fеdеrаl, state and local income tax rеtчrпs оr information returns, if апу. which the Company is
required to file.

           7.3   Financial Statements and Other ReLorts. То the extent the Соmрапу has access thereto
and permission to distribute, the Manager will distribute to each Person who is а МеmЬеr оп the date of
dispatch, financial statements of Portfolio Соmрапу.

      8.   Тrапsfеr of Interests; Substitute МеmЬеrs.

              8.   1 Withdrawals. Transfers.

                    (а)     No МеmЬеr shall have any right to voluntarily withdraw from the Соmрапу.

                (Ь) No МеmЬеr will Тrапsfеr the Member's Interest оr any rights in the Interest, or
permit апу legal оr beneficial interest in such МеmЬеr itself to Ье Тrапsfеrrеd, unless such Тrапsfеr is: (i)
а Family Transfer саrriеd оut in ассоrdапсе with Section 8.2 of this Agreement, оr (ii) approved Ьу the
Мапаgеr in the Manager's sole and absolute discretion. All attempted Transfers in violation of the terms
of this Agreement will Ье yoid, аЬ iпitio.

           8.2    Family Тrапsfеr. Notwithstanding anything to the сопtrаrу contained in this Agreement,
but subject to the considerations contemplated in Section 8.1, а МеmЬеr, the estate of а deceased МеmЬеr
оr attorney-in-fact оr guardian of а mentally incompetent МеmЬеr, may Transfer апу оr all оf the
МеmЬеr's Interest to one оr mоrе Family Members of such МеmЬеr (а "Family Тrапsfеr") provided that
such Family МеmЬеr is an Accredited Iпчеstоr; however, such Family МеmЬеr will not Ье admitted as а
МеmЬеr fоr purposes of political or voting power unless and until such Person is approved Ьу the
Мапаgеr and has executed and delivered an addendum to this Agreement in ассоrdапсе with Section 8.3.
In the event any such successor in interest is not approved as а МеmЬеr оr does not execute and deliver
such addendum to this Agreement, such successor willonly Ье entitled to the economic rights attributable
to the Тrапsfеrrеd interest as permitted hеrеuпdеr.

       8.З Execution of this Agreement Ьу Transferee. No assignee of all оr апу part of апу Interest
of а МеmЬеr in the Соmрапу will Ье admitted to the Соmрапу as а substitute mеmЬеr (a "Substitute
МеmЬеr") unless and until:

                    (а)     the Manager, in its sole and absolute discretion will have duly approved such
admission,

                    (Ь) the assignee has executed а counterpart of this Agreement (as modified оr
amended) and such оthеr instruments as the Мапаgеr may reasonably deem necessary оr appropriate to
сопfirm the undertaking of the assignee to Ье bound Ьу all the terms and provisions of this Agreement;
and

                    (с)     the assignee has undertaken in writing to рау all expenses iпсurrеd Ьу the
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Соmрапу in connection with such assignment and subsTitution.

Unless and until an assignee of Interests in the Соmрапу becomes а Substitute МеmЬеr, such assignee
will notЬе entitled to exercise апу vote, consent оr any other right or entitlement with геsресt to such
Interests.

    9.     Resignation and Removal of the Manager.

           9.1   Substitution of Мапаgеr. Without the consent of the Members, the Мапаgеr may
substitute an Affiliate as а successor Мапаgеr. Upon the substitution of а successor Мапаgеr under this
Section 9.1, the sчссеssоr will succeed to all of the rights and obligations of the Мапаgеr and the ргiоr
Мапаgеr will Ье deemed to have withdrawn as the Manager. Except as required Ьу applicable law,
changes in the members, mапаgеrs, directors, officers, employees оr agents of the Manager will not
rеquirе the consent of the Members and will not cause the dissolution of the Company.

           9,2  Removal оr Cessation of Мапаgеr. The Manager will cease to Ье the Manager of the
Соmрапу: (i) if the Мапаgеr resigns оr is dissolved; (ii) if the Manager becomes the subject раrý in an
Event of Bankruptcy; (iii) upon the vote of а Required Interest of МеmЬеrs in the event of Misconduct Ьу
the Мапаgеr.

           9.З    Successor Мапаgеr.

                 (а) Gепеrаl. Upon the removal оr resignation of the Manager uпdеr Section 9.2, the
Members will appoint а new Мапаgеr with each МеmЬеr having the пumЬеr of votes equal to the
proportion of Interests held Ьу such МеmЬеr. The new Мапаgеr will Ье the Person which receives the
approval of МеmЬеrs holding а Required Interest. Any successor Мапаgеr appointed Ьу the Members to
replace а Мапаgеr pursuant to this Section 9.З will, beginning on the effective date of such appointment,
hаче the same rights and obligations uпdег this Аgrееmепt as the replaced Мапаgеr would have had
subsequent to such date if the replaced Мапаgеr had continued to act as Мапаgеr

                  (Ь)       Timing. The designation of such Реrsоп as     а sчссеssоr Мапаgеr   will оссur, and
for all рurроsеs will Ье deemed to have оссurrеd, on the effective date of the cessation of the рriоr
Manager.

    10. Duration and Termination of the Соmрапу.

        l0.1 Теrm. The existence of the Соmрапу will Ье deemed to have commenced on the date on
which the Certificate of Formation were filed with the Delaware Secretary of State and will continue until
teгminated as follows:

                     l0.1   .1   The written determination of the Мапаgеr;

                     10.1.2 The sale оf аllоr substantially all of the assets of the Company; оr

                     l0.1.3      one year after the initial public offering Ьу the Portfolio Соmрапу.

         10.2 Winding-Up. At the termination, the Company will Ье dissolved and wound-up. In
connection with the dissolution and winding-up of the Соmрапу, the Мапаgеr оr, if it votes to appoint а
liquidator оr оthеr representative (оr if the Мапаgеr has Ьееп removed чпdеr Section 9.2 and not timely
replaced uпdеr Section 9.3, а liquidator оr other representative selected Ьу the Members) (the
"Representative"), will рrосееd with the sale оr liquidation of all of the assets of the Соmрапу (including,
to the extent feasible, the conversion to cash оr cash equivalents of its assets) and will apply and distribute
the proceeds of such sale оr liquidation in the following оrdеr of priority, unless otherwise required Ьу
mandatory provisions of applicable law:
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                 (а)       first, to рау (оr make provision fоr payment оf) all expenses of the liquidation in
satisfaction of all obligations of the Соmрапу for such expenses оf liquidation;

                 (Ь) second, to рау (оr to make provision fоr the payment of) all creditors of the
Соmрапу (including Members who аrе creditors of the Соmрапу), in the оrdеr of рriоritу provided Ьу
law оr otherwise, in satisfaction of all debts, liabilities оr obligations of the Соmрапу due such creditors
and of such expenses of liquidation;

                 (с)     third, to the establishment of any rеsеrче which the Manager оr the
Representative mау deem reasonably necessary for any contingent оr unforeseen Iiabilities оr obligations
of the Соmрапу (such rеsеrче may Ье paid over Ьу the Мапаgеr оr the Representative to an еsсrоw agent
acceptable to the Manager or the Representative, to Ье held for disbursement in payment of any of the
aforementioned liabilities and, at the end of such period as will Ье deemed advisable Ьу the Manager оr
the Representative, fоr distribution of the balance in the mаппеr provided in this Section 10.2);

                 (d)     fourth, after the payment (оr the provision fоr payment) of all debts, liabilities
and obligations of the Company in accordance with clauses (а) and (Ь) above and the establishment of the
rеsеrче required under clause (с) above, to the Members in an amount equal to their positive Capital
Account balances; and

                 (е)     fifth, in accordance with Section 5.2.

          10.3 Distributions in Cash оr in Kind. Upon dissolution, the Manager оr the Representative
may at its discretion hire independent аррrаisеrs to appraise the fair market va]ue of Соmрапу assets not
sold оr otherwise disposed of and allocate any unrealized gain оr loss determined Ьу such appraisal to the
Members' respective Capital Accounts as though the properties in question had been sold on the date of
distribution and, after giving effect to апу such adjustment, distribute said assets in the mаппеr set forth in
Section 10.2.

         10.4 Time fоr Liquidation. А reasonable amount of time will Ье allowed for the orderly
liquidation of the assets of the Company and the discharge of liabilities to creditors so as to enable the
Мапаgеr оr the Representative to minimize the losses attendant uроп such liquidation.

         l0.5 Termination. Upon compliance with the foregoing distribution рlап, the Мапаgеr оr the
Representative wil1 execute, acknowledge and cause to Ье filed with the Secretary of State of the State of
Delaware Certificate of Dissolution (оr other appropriate document) of the Company. The provisions of
this Аgrееmепt will rеmаiп in full force and effect during the period of winding up and until the filing of
such Certificate оf Dissolution (оr other аррrорriаtе document) of the Company with the Sесrеtаrу of
state оf the state of Delaware.

        10.6 The costs and expenses fог terminating, dissolving and winding up the Соmрапу shall Ье
payable Ьу the Members.

    11. Amendments.

         l 1.1 Amendments Ьу Members. This Agreement mау not Ье modified or amended without the
written consent of the Мапаgеr and the МеmЬеrs holding а Required Interest. The admittance of new
Members in ассоrdапсе with section 4.3 shall not Ье deemed an amendment оr modification of this
Agreement.

12,     Investment/Operations Covenants.

        12.1    The Соmрапу shall use reasonable best efforts not to engage in any activities which
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could cause the Соmрапу to Ье engaged in а trade оr business any income of which would Ье treated Ьу
апу foreign Member (or any foreign partner оr mеmЬеr of а МеmЬеr) as income effectively connected
with а United States trade оr business under sections 871(а) or 881(а) of the Code.
         12.2 The Company will not invest in the securities of апу portfolio company if the ownership
of such securities would cause the Company to Ье treated as engaged in а trade оr business any income
frоm which would Ье treated Ьу any foreign МеmЬеr (оr апу foreign рагtпеr оr mеmЬеr of а МеmЬеr) as
income effectively connected with а United States trade оr business under sections 871(а) оr 881(а) of the
Code.

          |2.З The Соmрапу shall use its reasonable best efforts to ensure that all of its gross income is
frоm dividends, interest, and capital gains and losses from the disposition of рrореrtу, and rents and
royalties, but only such rents апd royalties as аrе excluded, pursuant to sections 5 l2(b)(2) and (3) ofthe
Code in calculating unrelated business taxable income to ensure that (а) the Company will not constitute а
"business enterprise" for purposes ofthe excess business holdings provisions ofsection 4943 ofthe Code.
The Соmрапу shall use its reasonable best efforts to епsurе that the Соmрапу not enter into any
transaction that would constitute participation Ьу the Company оr any МеmЬеr in a "prohibited
transaction" under section 4975 ofthe Code оr in an "excess benefit transaction" under section 4958 of
the Code. In по event shall this Section 12.3 Ье interpreted as preventing (оr limiting in any respect) the
Мапаgеr оr the Company frоm participating in those activities that аrе customarily associated with the
acquisition, holding of capital appreciation, and sale оr distribution Ьу а professionally managed
investment fund of portfolio соmрапу securities, including taking ап active role in founding оr serving оп
the boards of directors of portfolio companies.

         1,2.4 The Company will use its reasonable best efforts to conduct the affairs of the Company
so as to avoid having the Соmрапу treated as engaged in а trade оr business within the United States fоr
purposes of sections 875, 882, 884, and 1446 of the Code, so as to avoid any МеmЬеr (оr апу раrtпеr оr
mеmЬеr of а МеmЬеr) realizing gain оr loss treated as effectively oonnected with а U.S. trade оr business
uпdеr section 897 of the Code and so as to avoid "effectively connected income" within the meaning of
section 864 of the Code, In no ечепt shallthis Section |2.4Ье interpreted as preventing (оr limiting in any
respect) the Manager оr the Соmрапу from participating in those activities that аrе customarily associated
with the acquisition, holding of capital appreciation, and sale оr distribution Ьу а professionally managed
investment fund of portfolio соmрапу securities, including taking ап active role in founding оr serving оп
the boards of directors of portfolio companies.

13.     Miscellaneous.

        13.1   Waiver of Partition. Each of the МеmЬеrs hereby irrevocably waives any and all rights
that such МеmЬеr mау have to maintain any action for partition of any оf the Company's рrореrý.

         |З.2 Entire Agreement. This Agreement together with the documents expressly rеfеrrеd to
herein, each as amended or supplemented, constifutes the entire agreement among the parties with respect
to the subject mаttеr hеrеiп оr therein. They supersede апу рriоr agreement оr understanding among the
parties hereto.

        13.З      Successors and Assigns. Except as otherwise specifically provided herein, this
Agreement will Ье binding upon and iпшrе to the benefit of the parties and their legal representatives,
heirs, administrators, executors, successors and permitted assigns.

          lЗ.4 Severabilitv. If any provision of this Agreement, or the application of such provision to
апу Реrsоп оr circumstance, will Ье held invalid, illegal оr unenforceable in any jurisdiction, the validiý,
legality and enforceability of the remaining provisions of this Agreement, оr the application of such
provision in jurisdictions оr to Persons or circumstances other than those to which it is held invalid,
illegal оr unenforceable, will not Ье affected thereby.
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          13.5   Соuпtеrраrts. This Аgrееmепt may Ье executed in several counterparts, each of which
will   Ье deemed an original but all of which will constitute one and the same instrument. Сочпtеrраrts mау
Ье delivered yzc facsimile, electronic mail (including .pdf or any electronic signature complying with the
U.S. federal ESIGN Act of 2000, e.g.,www.docusigп.com) оr other transmission method and any
соuпtеrраrt so delivered shall Ье deemed to have been duly and validly delivered and Ье valid and
effective for all рurроsеs.

         з5.6 Notices. All notices and demands, consents and other communications uпdеr this
Agreement mчst Ье in writing and delivered Ьу: (а) сопfirmеd email оr (Ь) ап internationally recognized
overnight delivery service with confirmed receipt. The physicaland email addresses of the Members will
Ье recorded via the Subscription Agreement and the address of the Company will Ье shown in Section
2.4. Notices, demands, consents and other communications mailed will Ье deemed to have been given and
made three Bцsiness Days following the date mailed. Notices, demands, consents and other
communications sent Ьу email оr delivery sеrчiсе will Ье deemed to have been given on the day receipt of
such notice is confirmed. Any МеmЬеr mау designate а different address Ьу written notice.

         \З.7 Confidentiality. Each МеmЬеr agrees, as set forth below, with respect to any information
pertaining to Portfolio Соmрапу or апу third party that the Company is under ап obligation of
confidentialiф (collectively, "Confidential Matter"), to treat as confidential (and to only use in connection
with the business of the Соmрапу) all such information, and will not disclose any Confidential Matter,
provided that any МеmЬеr mау disclose any such information (а) as has become generally available to the
public, (Ь) as to which such МеmЬеr has received frоm а third party and about which such МеmЬеr has
no knowledge of а confidentiality аgrееmепt between such third раrtу and the Соmрапу, (с) as mау Ье
required оr appropriate in any rероrt, statement оr testimony submitted to any Governmental Authoriý
having оr claiming to have jurisdiction очеr such МеmЬеr but only that portion of the data and
information which, in the written opinion of counsel fоr such МеmЬеr is required оr would Ье required to
Ье furnished to avoid liability for contempt оr the imposition of any оthеr material judicial or
governmental penalty оr сепsчrе, (d) as mау Ье required оr appropriate in response to апу summons оr
subpoena оr in connection with апу litigation оr (е) as to which each of the other Members has consented
in writing.

         lЗ.8 Interpretation. Wherever from the context it арреаrs appropriate, each tеrm stated in
either the singular or the plural will include the singular and the plural, and pronouns stated in the
masculine, the feminine оr neuter gender will include the masculine, the feminine and the пеutеr.
Captions contained in this Agreement аrе inserted only as а matter of convenience and in no way define,
limit оr extend or otherwise affect the scope оr intent of this Agreement оr any provision hereof.

         13.9 Manager's Standard of Саrе. Whenever in this Agreement the Manager is permitted оr
required to make а decision (а) in its "sole and absolute discretion," "sole discretion," "discretion" оr
under а grant of similar authoriý оr latitude, the Мапаgеr will Ье entitled to consider such interests and
factors as it desires, including its оwп interests оr (Ь) in its "good faith" оr under another express
standard, the Manager will act under such express standard and will not Ье subject to any оthеr оr
different standard imposed Ьу this Agreement оr other applicable law.

          1З.10 Governing Law and Venue. This Agreement shallbe governed Ьу, and construed under,
the laws of the State of Delaware (without rеgаrd to conflict of laws principles), all rights and remedies
being governed Ьу said laws. The parties аgrее that any action brought Ьу any раrф under оr in relation
to this Agreement, including without limitation to interpret оr епfоrсе апу provision of this Agreement,
shall Ье brought in, and each раrtу agrees to and does hеrеЬу submit to the jurisdiction and чепuе of, any
state оr federal соurt located in the Delaware, usA.

         l3.11   Compliance with FINRA. In the event that the Соmрапу invests in any Securities that аrе
part of а "пеw issue" within the meaning of the rules оf Financial Industry Regulatory Аuthоriф, Inc.
(fоrmеrlу, NASD, Inc.) ("FINRA") (including Rule 5l30), such investment shall Ье made in ассоrdапсе
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with all applicable FINRA rulеs. In fчrthеrапсе (but not limitation) of the preceding sentence, to the
extent necessary to comply with FINRA rules (as dеtегmiпеd Ьу the Мапаgеr in its rеаsопаЬlе discretion)
only those МеmЬеrs that hаче established thrочgh written representations satisfactory to the Manager that
they do not fallwithin the proscription of such rшlеs with rеgаrd to any specific new issue Securities shall
have а beneficial interest in suсh new issue securities through their interest in the Company. Under no
circumstance shallthe Мапаgеr Ье deemed in Ьrеасh of апу duty to the Соmрапу Ьу virtue of causing the
Company to decline an opportunity to invest in а new issue Sесчritу.

        |З.12 Соmрliапсе     with Iпvеstmепt Advisers Act.

                  (а) The Members acknowledge and agree that the Members, solely Ьу virtue of
their status as such оr their rights under this Аgrееmепt, аrе not intended to Ье clients of the Мапаgеr
within the meaning of the Investment Advisers Act. Accordingly, notwithstanding any provision of this
Agreement to the сопtrаry, the Мапаgеr shall not Ье required to provide апу МеmЬеr (in its capacity as
such) with any advice, analysis оr rероrts regarding such Member's direct actual оr proposed investments
in any securities (including апу actual оr proposed co-investment Ьу such МеmЬеr with the Соmрапу).

                  (с) In recognition of Rule 206(а)-8(аХ1) of the Investment Advisers Act (and оthеr
applicable laws, regulations and rules that similarly prohibit misleading communications to investors),
each МеmЬеr acknowledges and agrees that апу and all communications frоm the Manager relating to the
Company (including financial statements, capital call notices, proposals of amendments to this
Agreement, requests for consents оr waivers, and оthеr reports, statements, notices and communications)
shall Ье interpreted Ьу each МеmЬеr in light of all of the provisions of this Agreement.

        l3.1З   Соmрliапсе ltlith Securities Ехсhапgе Act.

                 (а) The МеmЬеrs acknowledge and agree that the activities of the Мапаgеr iп
connection with the offering of interests in the Соmрапу аrе not intended to give rise to а requirement
that any ofsuch Persons register as а Ьrоkеr оr а dealer under the Securities Exchange Act оr any
corresponding State, local, оr foreign law. То the maximum extent permitted Ьу applicable law, the
Мапаgеr and the Соmрапу hеrеЬу disclaim any duties, obligations, оr status as an advisor, fiпdеr, agent,
Ьrоkеr or dealer оп behalfor in respect ofany Реrsоп in connection with such Person's actual оr proposed
investment in the Соmрапу.

                 (Ь) NoМithstanding any provision оf this Аgrееmепt to the сопtrаrу, the Мапаgеr
(in its сарасiф as such) shall not Ье rеquirеd to provide any services in connection with the actual оr
proposed transfer of all оr any portion of а МеmЬеr's оr Assignee's interest in the Соmрапу, оr in
connection with апу distribution Ьу the Соmрапу, which services would give rise to а requirement that
the Мапаgеr or апу mеmЬеr thereof register as а Ьrоkеr or dealer uпdеr the Securities Exchange Act оr
any corresponding State, local оr foreign law.




                                         ISignature Page Follows]
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COUNTERPART SIGNATURE РАGЕ FОR OPERATING AGREEMENT ОF GЧА AUTO,LLC

MANAGER:



GVА CAPITAL LTD




   Name: Pavel Cherkashin
   Title: Director


MEMBER:




  Name:
   Title:
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                                     SCHEDULE А
                              GЧА AUTO, LLC
                  LIMITED LIABILITY COMPANY AGREEMENT


                Nаmе of Меmьеr                    Percentage
                                                  Interest



                Prosperity Investments LP         95.0%




                vladimir smirпоч                  5.0%



               Totals
                                                  100.0%




                                                           ф-
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                   EXHIBIT B
                                                                                                             Digitally signed by Advance Performance Exponents

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                                                                                                             Date: 2021.04.19 10:50:37 -05:00
                                                                                                             Reason: Apex Certified
                                                                                                             Location: Apex



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   IN THE GRAND COURT OF THE CAYMAN ISLANDS
   FINANCIAL SERVICES DIVISION

                                                                 CAUSE NO: FSD ____ OF 2021 (____)

   BETWEEN:

                             (1)     PAVEL CHERKASHIN
                             (2)     PAVEL CHERKASHIN (DERIVATIVELY ON BEHALF
                                      OF GVA CAPITAL LTD)

                                                                                                     PLAINTIFFS

   AND:

                             (1)     GVA CAPITAL LTD
                             (2)     ODRISON INVESTMENTS LIMITED

                                                                                                   DEFENDANTS


                                              WRIT OF SUMMONS


   TO:     (1)      GVA Capital Ltd
                    c/o Harneys Fiduciary (Cayman) Limited
                    4th Floor, Harbour Place
                    103 South Church Street
                    PO Box 10240
                    Grand Cayman KY1-1002
                    Cayman Islands

           (2)      Odrison Investments Limited
                    IRIS Tower, Floor 4
                    Flat 401
                    Arch. Makariou III & Agapinoros 2
                    1076 Nicosia
                    Cyprus

   THIS WRIT OF SUMMONS has been issued against you by the above-named Plaintiff in respect
   of the claim set out on the next page.

   Within 14 days (or, if leave is required to effect service out of the jurisdiction, such other
   period as is specified in the attached Acknowledgement of Service of Writ of Summons) after
   the service of this Writ on you, counting the day of service, you must either satisfy the claim


   This Writ of Summons was issued by KSG, attorneys for the Plaintiff, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
                                                                                                                            1
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   or return to the Court Office, PO Box 495G, George Town, Grand Cayman, the accompanying
   Acknowledgement of Service stating therein whether you intend to contest these proceedings.

   If you fail to satisfy the claim or to return the Acknowledgement within the time stated, or if
   you return the Acknowledgement without stating therein an intention to contest the
   proceedings, the Plaintiff may proceed with the action and judgment may be entered against
   you forthwith without further notice.

   Issued this 19th day of April 2021.

   NOTE – This Writ may not be served later than 4 calendar months (or, if leave is required to
   effect service out of the jurisdiction, 6 months) beginning with the date of issue unless
   renewed by order of the Court.

                                                    IMPORTANT

   Directions for Acknowledgement of Service are given with the accompanying form.




   This Writ of Summons was issued by KSG, attorneys for the Plaintiff, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
                                                                                                                    2
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                                          GENERAL INDORSEMENT


   1.     The First Plaintiff, Pavel Cherkashin (Mr Cherkashin) is a shareholder and former
           director of GVA Capital Ltd (the Company), a Cayman Islands exempted company.
           Mr Cherkashin brings this action on his own behalf and derivatively on behalf of the
           Company.


   2.     The Second Defendant, Odrison Investments Limited (Odrison) is a Cyprus limited
           company. Odrison is a shareholder and a director of the Company. Odrison is controlled
           by, and represents the interests of, Magomed Musaev (Mr Musaev), a Russian
           national domiciled in the Russian Federation.


   3.     The Company is the sole manager of GVA Auto, LLC (GVA Auto), a Delaware limited
           liability company. GVA Auto carries on business as an investment fund, and has two
           participating members. One participating member holds a 95% interest in GVA Auto
           and the other participating member holds a 5% interest in GVA Auto. GVA Auto is
           governed by an Operating Agreement dated 29 June 2017 that is subject to Delaware
           law.


   4.     It is anticipated that GVA Auto will make a distribution of assets in June 2021
           representing a substantial profit to the participating members. Under the Operating
           Agreement, the participating members are entitled to receive the distributed assets in
           accordance with their proportionate interests in GVA Auto, subject to the Company’s
           entitlement to carried interest.


   5.     Mr Musaev and Odrison allege that Mr Musaev, on behalf of the Company, made an
           oral agreement the purported effect of which is that the Company is entitled to receive
           all of the appreciation attributable to the 95% interest in GVA Auto held by the majority
           participating member, which is to then be paid over to Odrison, Mr Musaev and/or an
           entity controlled by Mr Musaev (the Alleged Agreement).


   6.     Mr Cherkashin and the majority participating member in GVA Auto deny that the
           Alleged Agreement exists or is valid or enforceable. However, Odrison, at the direction
           of Mr Musaev, intends to implement the Alleged Agreement. In response to Mr
           Cherkashin’s concerns about the transaction, Mr Musaev has engineered the removal


   This Writ of Summons is filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
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           of Mr Cherkashin as a director of the Company and has threatened to cause Mr
           Cherkashin’s shareholding in the Company to be diluted.


   7.     If the Company implements or attempts to implement the Alleged Agreement while its
           validity and enforceability is disputed, the Company management rights under the GVA
           Auto Operating Agreement will be threatened, and thereby cause significant loss to
           the Company and to Mr Cherkashin as a shareholder of the Company.


   8.     Further, the threats to dilute Mr Cherkashin’s shareholdings in the Company, and any
           attempt to do so, would constitute breaches of the Company directors’ fiduciary and
           common law duties owed to the Company.


   The Plaintiffs’ claims are for:


   (1)    An injunction restraining GVA and Odrison from taking any steps to implement the
           Alleged Agreement pending final determination of the validity and enforceability of the
           Alleged Agreement by a court of competent jurisdiction;


   (2)    An injunction restraining GVA and Odrison from issuing any further shares or other
           equity interests, or any rights or interests capable of becoming a share or other equity
           interest, in GVA;


   (3)    Costs; and


   (4)    Such further or other relief as counsel may advise or the Court thinks appropriate.


   DATED this 19th day of April, 2021.




   ______________________________
   KSG
   Attorneys for the Plaintiffs




   This Writ of Summons is filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
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                         DIRECTIONS FOR ACKNOWLEDGMENT OF SERVICE
                                     OF WRIT OF SUMMONS

   1.     The accompanying form of Acknowledgment of Service should be completed by an
           Attorney acting on behalf of the Defendant or by the Defendant if acting in person.

           After completion it must be delivered or sent by post to the Law Courts, P.O. Box 495G,
           George Town, Grand Cayman.

   2.     A Defendant who states in his Acknowledgement of Service that he intends to contest
           the proceedings must also serve a defence on the Attorney for the Plaintiff (or on the
           Plaintiff if acting in person).

           If a Statement of Claim is indorsed on the Writ (i.e., the words “Statement of Claim”
           appear on the top of page 3), the Defence must be served within 14 days after the time
           for acknowledging service of the Writ, unless in the meantime a summons for judgment
           is served on the Defendant.

           If the Statement of Claim is not indorsed on the Writ, the Defence need not be served
           until 14 days after a Statement of Claim has been served on the Defendant.

           If the Defendant fails to serve his defence within the appropriate time, the Plaintiff may
           enter judgment against him without further notice.

   3.     A Stay of Execution against the Defendant’s goods may be applied for where the
           Defendant is unable to pay the money for which any judgment is entered. If a Defendant
           to an action for a debt or liquidated demand (i.e. a fixed sum) who does not intend to
           contest the proceedings states, in answer to Question 3 in the Acknowledgement of
           Service, that he intends to apply for a stay, execution will be stayed for 14 days after his
           Acknowledgment, but he must, within that time, issue a Summons for a stay of
           execution, supported by an affidavit of his means. The affidavit should state any offer
           which the Defendant desires to make for payment of the money by instalments or
           otherwise.

   See over for notes for guidance

   Please complete overleaf




   This Writ of Summons is filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
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   Notes for Guidance

       1.       Each Defendant (if there are more than one) is required to
                complete an Acknowledgment of Service and return it to the
                Courts Office.

       2.       For the purpose of calculating the period of 14 days for
                acknowledging service, a writ served on the Defendant
                personally is treated as having been served on the day it was
                delivered to him.

       3.       Where the Defendant is sued in a name different from his own,
                the form must be completed by him with the addition in
                paragraph 1 of the words “sued as (the name stated on the
                Writ of Summons)”.

       4.       Where the Defendant is a FIRM and an attorney is not
                instructed, the form must be completed by a PARTNER by
                name, with the addition in paragraph 1 of the description
                “Partner in the firm of (.......................................)” after his
                name.

       5.       Where the Defendant is sued as an individual TRADING IN A
                NAME OTHER THAN HIS OWN, the form must be completed by
                him with the addition in paragraph 1 of the description “trading
                as (...........................)” after his name.

       6.       Where the Defendant is a LIMITED COMPANY the form must
                be completed by an Attorney or by someone authorised to act
                on behalf of the Company, but the Company can take no
                further step in the proceedings without an Attorney acting on
                its behalf.

       7.       Where the Defendant is a MINOR or a MENTAL PATIENT, the
                form must be completed by an Attorney acting for a guardian
                ad litem.

       8.       A Defendant acting in person may obtain help in completing
                the form at the Courts Office.




   This Writ of Summons is filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
   Centre, 42 North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [JK/MR/2101]
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   IN THE GRAND COURT OF THE CAYMAN ISLANDS
   FINANCIAL SERVICES DIVISION

                                                       CAUSE NO: FSD ____ OF 2021 (____)

   BETWEEN:

                        (3)    PAVEL CHERKASHIN
                        (4)    PAVEL CHERKASHIN (DERIVATIVELY ON BEHALF
                                OF GVA CAPITAL LTD)

                                                                                     PLAINTIFFS

   AND:

                        (3)    GVA CAPITAL LTD
                        (4)    ODRISON INVESTMENTS LIMITED

                                                                                    DEFENDANTS


                                ACKNOWLEDGMENT OF SERVICE
                                   OF WRIT OF SUMMONS


   If you intend to instruct an Attorney to act for you, give him this form IMMEDIATELY.

    Important. Read the accompanying                   Delay may result in judgment being
    directions and notes for guidance                  entered against a Defendant whereby he
    carefully before completing this form. If          may have to pay the costs of applying to
    any information required is omitted or             set it aside.
    given wrongly, THIS FORM MAY HAVE TO
    BE RETURNED.



     1.     State the full name of the Defendant by whom or on whose behalf the service of the
            Writ is being acknowledged.



     2.     State whether the Defendant intends to contest or otherwise participate in the
            proceedings (tick appropriate box)
                                yes                     no

     3.     If the claim against the Defendant is for a debt or liquidated demand, AND he does not
            intend to contest the proceedings, state if the Defendant intends to apply for a stay of
            execution against any judgment entered by the Plaintiff (tick box)
                                  yes                           no




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   Service of the Writ is acknowledged accordingly




   (Signed).......................................................
    Attorney for                                                     Please complete overleaf




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   Notes on address for service

   Attorney: where the Defendant is represented by an attorney, state the attorney's place of
   business in the Cayman Islands. A Defendant may not act by a foreign attorney.

   Defendant in person: where the Defendant is acting in person, he must give his post office box
   number and the physical address of his residence or, if he does not reside in the Cayman Islands,
   he must give an address in Grand Cayman where communications for him should be sent. In
   the case of a limited company, “residence” means its registered or principal office.

   Endorsement by plaintiff's Attorney (or by plaintiff if suing in person) of his name, address and
   reference, if any, in the box below.


     KSG Attorneys at Law
     4th Floor Harbour Centre
     42 North Church Street
     PO Box 2255
     Grand Cayman KY1-1107
     Cayman Islands


   Endorsement by defendant's Attorney (or by defendant if suing in person) of his name, address
   and reference, if any, in the box below.




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                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
             SUPPLEMENTAL INFORMATION PURSUANT TO RULE 3(A)
                  OF THE RULES OF THE COURT OF CHANCERY

The information contained herein is for the use by the Court for statistical and administrative
purposes only. Nothing stated herein shall be deemed an admission by or binding upon any party.

1. Caption of Case:    Definition Services Inc. v. GVA Capital LTD, C.A. No. 2021-____-___

2. Date Filed:         April 26, 2021

3. Name and address of counsel for plaintiff(s):
      Brock E. Czeschin (#3938)
      Christian C.F. Roberts (#6694)
      Richards Layton & Finger P.A.
      920 North King Street
      Wilmington, DE 19801

4. Short statement and nature of claim asserted: Plaintiff brings this suit to enforce provisions
of Operating Agreement of Delaware Limited Liability Company, to enjoin Manager’s
breach of the Operating Agreement, and to recover damages for Manager’s breaches of
fiduciary duty and of the Operating Agreement.

5. Substantive field of law involved (check one):
____Administrative law             ____Labor law                       ____Trusts, Wills and Estates
__X__Commercial law                ____Real Property                   ____Consent trust petitions
____Constitutional law             ____348 Deed Restriction            ____Partition
___ Corporation law                ____Zoning                          ____Rapid Arbitration (Rules 96,97)
____Trade secrets/trade mark/or other intellectual property            ____Other

6. Related cases, including any Register of Wills matters (this requires copies of all documents in
this matter to be filed with the Register of Wills): None

7. Basis of court’s jurisdiction (including the citation of any statute(s) conferring jurisdiction):
6 Del. C. § 18-111; 6 Del. C. § 18-109; 10 Del. C. § 341; 10 Del. C. § 6501

8. If the complaint seeks preliminary equitable relief, state the specific preliminary relief sought.
Plaintiffs seeks a temporary restraining order enjoining Defendant from proceeding with
self-interested distribution in breach of the Operating Agreement.

9. If the complaint seeks a TRO, summary proceedings, a Preliminary Injunction, or Expedited
Proceedings, check here _X__. (If #9 is checked, a Motion to Expedite must accompany the
transaction.)

10. If the complaint is one that in the opinion of counsel should not be assigned to a Master in
the first instance, check here and attach a statement of good cause. __X__



                                                   1
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                                              /s/ Brock E. Czeschin
                                              Brock E. Czeschin (#3938)




                                      2
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                        STATEMENT OF GOOD CAUSE
         The undersigned counsel have reviewed the Verified Complaint Seeking

Temporary Restraining Order and Other Relief and do not believe that this action

is suitable for assignment to a Master in Chancery.           As described in the

accompanying Opening Brief in Support of Motions for Temporary Restraining

Order and Expedited Proceedings, plaintiff seeks expedition and a temporary

restraining order enjoining defendant from proceeding with a self-interested

transaction in violation of the Operating Agreement of a Delaware Limited

Liability Company. Accordingly, this action should proceed directly before the

Chancellor or a Vice Chancellor of this Court.



                                    /s/ Brock E. Czeschin
                                    Brock E. Czeschin (#3938)
                                    Christian C.F. Roberts (#6694)
                                    RICHARDS, LAYTON & FINGER, P.A.
                                    One Rodney Square
                                    920 North King Street
                                    Wilmington, Delaware 19801
                                    (302) 651-7700

                                    Attorneys for Plaintiff Definition Services Inc.



Dated: April 26, 2021




                                         3
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                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES INC.,                   )
                                             )
                                             )
                   Plaintiff,                )   C.A. No. 2021-____
                                             )
          v.                                 )
                                             )
 GVA CAPITAL LTD.,                           )
                                             )
                                             )
                   Defendant,                )

  PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER

         Pursuant to Court of Chancery Rule 65(b), Plaintiff Definition Services Inc.

(“Plaintiff”) moves for an Order enjoining GVA Capital LTD (“GVA Capital” or

“Defendant”) and its affiliates from making or authorizing any distribution, sale, or

other transaction involving the Luminar Shares (the “Motion”). The grounds for the

Motion are set forth in Plaintiff’s Opening Brief in Support of Its Motions for

Temporary Restraining Order and Expedited Proceedings filed contemporaneously

herewith.




RLF1 25170918v.1
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                                          /s/ Brock E. Czeschin
                                          Brock E. Czeschin (#3938)
                                          Christian Roberts (#6694)
                                          Richards, Layton & Finger, P.A.
                                          920 North King Street
                                          Wilmington, Delaware 19801
                                          (302) 651-7700

                                          Attorneys for Plaintiff

 Dated: April 26, 2021                    Words: 70




                                      2

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                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES INC.,                   )
                                             )
                                             )
              Plaintiff,                     )   C.A. No. 2021-____
                                             )
       v.                                    )
                                             )
 GVA CAPITAL LTD.,                           )
                                             )
                                             )
              Defendant,                     )

            [PROPOSED] TEMPORARY RESTRAINING ORDER

      Plaintiff Definition Services Inc. (“Definition Services”), having moved for

an Order enjoining GVA Capital LTD (“GVA Capital”) and its affiliates from

making or authorizing any distribution, sale, or other transactions involving or

otherwise implicating the Luminar Shares (the “Motion”), and the Court having

considered the matter,

      IT IS HEREBY ORDERED this __ day of April, 2021, that:

      1.     The Motion is GRANTED; and

      2.      GVA Capital and its affiliates, including but not limited to its

members, managers, directors, employees, and agents, shall not make or authorize

any direct or indirect distribution, sale, transfer, contribution, pledge, encumbrance,

or other transaction involving or otherwise implicating the Luminar Shares, unless

it obtains the prior written consent of Definition Services or the Court.
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                                                  [Vice] Chancellor
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                                                  Case No. 2021-0357-
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES INC.,                     )
                                               )
                                               )
                   Plaintiff,                  )   C.A. No. 2021-____
                                               )
          v.                                   )
                                               )
 GVA CAPITAL LTD.,                             )
                                               )
                                               )
                   Defendant,                  )

                     MOTION FOR EXPEDITED PROCEEDINGS

         Plaintiff Definition Services Inc. (“Definition” or “Plaintiff”), by and through

its undersigned counsel, hereby moves for an Order, in the form attached hereto,

providing for expedited proceedings (the “Motion”). The grounds for the Motion

are set forth in Plaintiff’s Opening Brief in Support of Its Motions for Temporary

Restraining Order and Expedited Proceedings filed contemporaneously herewith.




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                                       /s/ Brock E. Czeschin
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                                                  EFiled: Apr 26 2021 04:06PM EDT
                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
   IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES INC.,                  )
                                            )
                                            )
             Plaintiff,                     )   C.A. No. 2021-____
                                            )
       v.                                   )
                                            )
 GVA CAPITAL LTD.,                          )
                                            )
                                            )
             Defendant,                     )

                 [PROPOSED] ORDER GRANTING
       PLAINTIFF’S MOTION FOR EXPEDITED PROCEEDINGS

      Upon Plaintiff Definition Services Inc.’s Motion for Expedited Proceedings

(the “Motion”), and for good cause shown,

      IT IS HEREBY ORDERED this __ day of April, 2021, that:

      1.    The Motion is GRANTED;

      2.    The proceedings in the above-captioned action shall be expedited; and

      3.    The parties are directed to confer on an appropriate schedule, in

accordance with any guidance provided by the Court.




                                                      [Vice] Chancellor
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                                                  EFiled: Apr 26 2021 04:06PM EDT
                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES INC.,             )
                                       )
                                       )
                   Plaintiff,          )   C.A. No. 2021-____
                                       )
          v.                           )
                                       )
 GVA CAPITAL LTD.,                     )
                                       )
                                       )
                   Defendant,          )




       PLAINTIFF’S OPENING BRIEF IN SUPPORT OF ITS MOTIONS
               FOR TEMPORARY RESTRAINING ORDER
                   AND EXPEDITED PROCEEDINGS




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                          PRELIMINARY STATEMENT

         This action seeks to stop the brazen attempt by an investment manager, GVA

Capital LTD (“GVA Capital” or “Defendant”), to steal the substantial gains of its

investor, Definition Services Inc. (“Definition Services” or “Plaintiff”), in direct

violation of the parties’ written agreement. Pursuant to the terms of that agreement,

Definition Services is entitled to receive a distribution of its investment gains, which

are currently valued in the hundreds of millions of dollars, in the coming weeks.

Until very recently, GVA Capital was working cooperatively with Definition

Services in planning for this distribution. However, as a result of one of GVA

Capital’s members seizing control of the company’s board, GVA Capital has

suddenly taken the position that it is entitled to all of Definition Services’ investment

gains and that such gains will be distributed directly to GVA Capital and/or its new

controller.

         GVA Capital has taken this remarkable position on the grounds of an alleged

“oral agreement,” which was purportedly reached years ago by individuals who

lacked authority to bind either party. The alleged oral agreement also clearly violates

the express terms of the parties’ written agreement, which unsurprisingly entitles

Definition Services to the gain on its investment. This written agreement further

provides that it may not be amended except in writing. GVA Capital’s shocking

conduct must be stopped, including through the prompt issuance of a temporary


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restraining order. Otherwise, Definition Services’ substantial investment gains will

be distributed to foreign entities, including a Russian national, and dissipated before

any final relief may be awarded, effectively leaving Definition Services without an

available remedy.

         Prior to April 8, 2021, Definition Services was working with GVA Capital

director Pavel Cherkashin (“Cherkashin”) on a distribution agreement, which would

provide Definition Services with its rightful share of investment proceeds. However,

on that date, Cherkashin notified Definition Services that another member of GVA

Capital, Odrison Investments Limited (“Odrison”), was seeking to remove

Cherkashin as a director because Cherkashin refused to recognize an alleged oral

agreement that purportedly gave GVA Capital the right to all gains on the

investment. Odrison is an entity controlled Magomed Musaev (“Musaev”). Odrison

and Musaev assert that at some point Musaev entered into an oral agreement with a

“representative” of Definition Services and/or its predecessor providing that

Definition Services would only be entitled to the return of its invested capital and all

gain or loss on the investment would be realized by GVA Capital.

         GVA Capital’s newly-minted position is directly contrary to the express terms

of parties’ written agreement, which provides that “[a]ll profit and loss shall be

allocated to the Capital Accounts of the Members in proportion to their Percentage

Interests.” Pursuant to its terms, this written agreement cannot be amended except


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in writing. Yet there is no contemporaneous written evidence supporting the

existence of Musaev’s alleged oral agreement.            Accordingly, any such oral

agreement violates the plain terms of the parties’ written agreement. Furthermore,

none of the individuals purportedly involved in reaching the alleged oral agreement

had authority to bind the parties to it. As such, Odrison’s own partner in GVA

Capital, Cherkashin, refused to recognize the alleged oral agreement and sought

properly to perform GVA Capital’s obligations under the parties’ written agreement.

However, on April 13, 2021, Odrison purported to remove Cherkashin from GVA

Capital’s board. Odrison’s intention in doing so was clear: It was causing GVA

Capital to adopt Musaev’s outlandish position concerning the alleged oral

agreement, including that all of Definition Services’ substantial investment gains

shall be distributed to GVA Capital and/or Musaev. This distribution (unless

enjoined) is likely to occur on or soon after June 1, 2021.

         Given these extraordinary circumstances, Definition Services is entitled to the

issuance of a temporary restraining order, preserving the status quo until this Court

can determine the claims asserted in this action, and to expedited proceedings.




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                               STATEMENT OF FACTS1

         A.        The Investments with GVA Capital

         Prosperity Investments LP (“Prosperity”), Definition Services’ predecessor-

in-interests, originally invested a total of $28 million with GVA Capital across three

investments. Compl. ¶ 13. Most significantly, in September 2016, Prosperity

invested a capital contribution of $20 million in GVA Auto. Id. ¶ 15. GVA Auto’s

sole purposes are to: (i) make an investments in Luminar Technologies, Inc.

(“Luminar”) and (ii) engage in any and all activities related or incidental thereto.

See GVA Auto, LLC Operating Agreement (the “Operating Agreement” or “OA”),

§ 2.3. Compl., Ex. A. At the time of the investment, Luminar was a startup company

focused on developing technology for autonomous vehicles. Compl. ¶ 15.

         At the time of its capital contribution, Prosperity was the only investor in GVA

Auto. Id. ¶ 17. On June 29, 2017, Prosperity sold 5% of its position in GVA Auto

to Vladimir Smirnov for $1.5 million in cash. Id. Thereafter, Prosperity owned a

95% interest in GVA Auto.

         B.        The Operating Agreement

         The Operating Agreement sets forth the parties’ rights and obligations with

regard to GVA Auto.



         The factual statements in this brief come directly from the Verified
         1

Complaint Seeking Temporary Restraining Order and Other Relief (cited as “Compl.
¶ __”), which was filed contemporaneously herewith.

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         GVA Capital is designated as the Manager of the entity, but is not a Member

and holds no ownership interest the company. See OA § 1 and Schedule A.

         Pursuant to Section 4.5(b) of the Operating Agreement, “[a]ll profit and loss

shall be allocated to the Capital Accounts of the Members in proportion to their

Percentage Interests.” Id. § 4.5(b).

         Section 5.2 of the Operating Agreement further provides as follows:

         Ordinary Distributions. Subject to the limitations of the Act and this
         Agreement, the Manager shall make prompt distributions of Available
         Cash (and in any event within 30 days after receipt of proceeds from
         the Portfolio Company) resulting from receipts attributable to, or
         proceeds from the disposition of, a Portfolio Company to the Members
         as follows:

         (a) First, 100% to the Members who have Net Investment amounts, in
         proportion to their relative amounts of Net Investment until the Net
         Investment of each Member has been reduced to zero;

         (b) Thereafter, (i) 90% to the Members pro rata to their Percentage
         Interest and (ii) 10% to the Manager (the “Carried Interest”).

Id. § 5.2. Stated differently, the Operating Agreement provides that each Member

shall receive back its invested capital and then any additional gains shall be

distributed 90% to the Members based on their percentage interests and 10% to the

Manager.2




        Under Section 5.3 of the GVA Auto Operating Agreement, the Manager has
         2

discretion to “distribute assets in kind in the priority set forth in Section 5.2.”
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         Significantly, the Operating Agreement may not be amended or modified

without the requisite written consent of the majority of its Members. Under Section

6.2 of the Operating Agreement, the Manager cannot adopt “any amendment to this

Agreement” without the “prior written approval of a Required Interest of Members,”

which is Members holding more than 50% of the Percentage Interests. Id. § 6.2.

Similarly, Section 11.1 of the Operating provides: “This Agreement may not be

modified or amended without the written consent of the Manager and the Members

holding a Required Interest.” Id. § 11.1.

         C.        Prosperity Transfers Its Interests in the Investments to Definition
                   Services

         Through an Agreement of Assignment and Adherence (the “Assignment

Agreement”) dated December 19, 2018, Prosperity transferred and assigned all of its

“rights, title and interest in respect of its interest in” GVA Auto to Definition

Services.          Compl. ¶ 25.   The Assignment Agreement, which was signed by

Cherkashin on behalf of GVA Auto, further provides that GVA Auto acknowledges,

agrees and confirms that “all requirements and conditions for the assignment of the

Assigned Interest and the admission of [Definition Services] as a member of the

Company have been satisfied or otherwise waived.” Id. GVA Capital also approved

of the Assignment Agreement and Definition Services’ admission as a member of




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GVA Auto through written resolutions dated December 9, 2018, which were signed

by Ordison. Compl. ¶ 25.3

         D.        Luminar Explodes In Value And Goes Public

         By early 2020, Luminar was preparing to go public, and it was clear that the

company’s value had grown considerably. Compl. ¶ 29. Luminar ultimately went

public on December 1, 2020.           Id.   GVA Auto currently holds approximately

18,030,728 shares of Luminar common stock (the “Luminar Shares”). Id. Based on

Luminar’s recent stock prices, the Luminar Shares have a value in the hundreds of

millions of dollars. Id.

         The Luminar Shares are currently subject to a lockup period restricting their

sale until June 1, 2021, after which time GVA Auto will receive the Luminar Shares

in its account.        Id. ¶ 30.   Prior to Odrison’s/Musaev’s attempt to undermine

Definition Services’ rights, GVA Capital’s intention was to promptly make an in-




         Definition Services subsequently became aware that the Assignment
         3

Agreements contained a scrivener’s error. Specifically, the Assignment Agreements
referenced and purported to be with “Prosperity Investment Ltd.” instead of
“Prosperity Investments LP.” This slight error in Prosperity’s name is immaterial
given that no entity by the name of Prosperity Investment Ltd. ever owned any
interests in any of the companies. Moreover, following the execution of the
Assignment Agreements, GVA Capital recognized Definition Services as the owner
of the interests in all three managed entities. Compl. ¶ 25. Once the error was
identified, representatives of Definition Services and former representatives of
Prosperity (which had since dissolved) signed corrected copies of the Assignment
Agreements. Id.

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kind distribution of the Luminar Shares to the GVA Auto investors based on their

percentage ownership, minus the “Carried Interest” to be paid to GVA Capital. Id.

         E.        GVA Capital Takes Steps to Prepare for Distribution of Luminar
                   Shares to Definition Services

         Up until about April 8, 2021, GVA Capital took steps to prepare for

distribution of Definition Services’ rightful shares in Luminar pursuant to the

Operating Agreement. Compl. ¶ 30. During this period, GVA Capital’s board was

composed of two directors: Odrison/Musaev and Cherkashin. Id. Cherkashin had

been involved since the formation of GVA Auto and served as Prosperity’s and then

Definition Services’ principal contact at GVA Capital concerning the GVA Auto

investment.

         In early March 2021, Cherkashin, on behalf of GVA Capital, reached out to

representatives of Definition Services to discuss the planned distribution of the

Luminar Shares, consistent with the terms of the Operating Agreement. Id. ¶ 31.

GVA Capital proposed entering into an agreement that would lay out the process for

the expected distribution of the Luminar Shares, including the amounts that would

be received by each of the Members and GVA Capital. Id. The parties agreed that

GVA Auto would make the distribution promptly after the lockup restrictions were

lifted on June 1, 2021.




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         In connection with these discussions, GVA Capital sent Definition Services’

representatives a draft “distribution model” that reflected Prosperity4 receiving

Luminar Shares worth hundreds of millions of dollars. Id. ¶ 32.

         F.        Musaev Alleges an Unenforceable Oral Agreement in an Effort to
                   Steal Definition Services’ Profits

         On April 8, 2021, Cherkashin sent an urgent email to Definition Services’

advisors, with whom he had been discussing the distribution of the Luminar Shares,

about an “Important matter.” Compl. ¶ 34. The email indicated that Musaev claimed

to have reached an oral agreement with an individual purportedly on behalf of

Prosperity several years ago, whereby Prosperity would receive back its initial

investment in GVA Auto but that any loss or gain on the investment would be

realized by GVA Capital (the “Alleged Oral Agreement”). Id. Cherkashin went on

to state that he had “not seen any evidence, other than Mr. Musaev’s account of his

conversation” supporting the actual existence of the Alleged Oral Agreement. Id.

         Cherkashin also raised concerns that Musaev would attempt to oust him from

GVA Capital for complying with GVA Capital’s obligations under the Operating

Agreement. Id. ¶ 35. His email stated:

         Until recently, I was confident that the transaction Mr. Musaev
         described could not occur without my approval. … Recently, however,
         I received the attached notice of an extraordinary meeting of GVA

       Definition Services promptly reminded Cherkashin that the distribution
         4

would need to be made to Definition Services, not Prosperity. Cherkashin
subsequently acknowledged this was correct.
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         Capital’s shareholders on April 13, at which a resolution to remove me
         as a director will be considered. … If the resolution is approved and I
         am removed, then my approval will no longer be needed for the
         transaction Mr. Musaev has described.

Id.

         G.        Musaev’s Alleged Oral Agreement is Unenforceable

         Cherkashin’s email was shocking for several reasons. First, the email signaled

a potential complete reversal of GVA Capital’s position with respect to its duties and

obligations under the Operating Agreement.

         Second, even if Musaev’s assertion of the Alleged Oral Agreement was true

(which it is not), it would be unenforceable for numerous reasons. First, the

Operating Agreement is clear that “[a]ll profit and loss shall be allocated to the

Capital Accounts of the Members in proportion to their Percentage Interests” and

that the agreement shall not be amended except in writing. See Operating Agreement

§§ 4.5(b), 6.2. Yet there is no contemporaneous written evidence supporting

Musaev’s Alleged Oral Agreement. Accordingly, any such oral agreement violates

the plain terms of the parties’ written agreement.

         Furthermore, none of the individuals purportedly involved in reaching the

Alleged Oral Agreement had authority to bind the parties to it. The individual whom

Musaev identified as the representative who made the agreement on behalf of

Prosperity has never had any authority to act on behalf of either Prosperity or

Definition Services, let alone enter into any such agreement.           Compl. ¶ 38.


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Similarly, Odrison (which is believed to be controlled by Musaev) was only one of

the two directors of GVA Capital.            As explained above, the other director,

Cherkashin, was unaware of the Alleged Oral Agreement at the time it was struck

and never approved the agreement.

         Definitions Services promptly advised Cherkashin that it firmly disputed

Musaev’s Alleged Oral Agreement. Id. ¶ 39. And, on April 10, 2021, Definition

Services’ counsel wrote to GVA Capital’s purported attorney, Leonard Grayver,

disputing the existence of the Alleged Oral Agreement and objecting to the attempt

to remove Cherkashin. Id.

         In the letter, counsel stated that Definition Services “strongly disagree[s] with

the allegations concerning the purported oral agreement and oppose[s] Odrison’s

efforts to remove Mr. Cherkashin.” Id. The letter further explained that the Alleged

Oral Agreement was not supported by any evidence except for Odrison’s/Musaev’s

self-serving assertions and, in any event, would be invalid and unenforceable. Id.

         Grayver, who upon information and belief replaced Cherkashin as a director

of GVA Capital and may stand to profit from the Alleged Oral Agreement, never

responded. Id. ¶ 41.

         H.        Cherkashin Disputes the Alleged Oral Agreement in Cayman
                   Islands Court

         On April 19, 2021, Cherkashin commenced an action in The Grand Court of

the Cayman Islands, Financial Services Division, challenging Odrison’s and

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Musaev’s efforts to cause GVA Capital to implement the Alleged Oral Agreement

and seeking the appointment of independent joint receivers for GVA Capital in order

to prevent such conduct. Compl. ¶ 42, Ex. B. In connection with this action,

Cherkashin filed an affidavit (the “Cherkashin Affidavit”) that revealed

Odrison’s/Musaev’s plan to spirit away the Luminar Shares so that they will not be

subject to collection. Id.

         Cherkashin describes Musaev’s scheme as follows:

         Mr. Musaev planned to arrange the transfer of the [Luminar] Shares to
         GVA Capital without Definition’s knowledge or consent. From GVA
         Capital, Mr. Musaev intended to return to Definition or Prosperity only
         the amount of Prosperity’s original investment currently held by
         Definition (approximately US$18,500,000). The profit on that
         investment … would go to Mr. Musaev or an entity under his control.
         If Definition or Prosperity disagreed with Mr. Musaev’s receipt of the
         profit on the investment, they would have to bring legal action to
         recover the profit from Mr. Musaev.

Id. ¶ 42. This plan would effectively render GVA Auto insolvent, as its only asset

is the Luminar Shares. It would also render GVA Capital effectively judgment proof

as the entity would be unable to satisfy any judgment once the Luminar Shares are

transferred to Musaev.

         Cherkashin states that he objected to Musaev’s plan because “I had not seen

any concrete evidence that the Alleged Agreement in fact existed.” Id. ¶ 44. In

response to Cherkashin’s objections, Musaev threatened to remove his as a director

of GVA Capital and to dilute his interest in GVA Capital. Id. Cherkashin explains


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that Musaev carried out the first part of this threat by having Odrison notice the April

13, 2021 meeting of GVA Capital members. Id. Based on the minutes of such

meeting, Cherkashin understands that Musaev was successful in removing

Cherkashin from the board. Id.

         Cherkashin also explained, correctly, that “[t]he Alleged Agreement appears

to be prima facie invalid and unenforceable” and, if Mr. Musaev causes GVA Capital

to adopt and implement such purported agreement “it will expose GVA Capital to

significant financial and reputational damage.” Id. ¶ 45.

         Significantly, Cherkashin—Musaev’s longtime business partner in GVA

Capital—also states that Musaev is a Russian national domiciled in the Russian

Federation, and that Musaev would not be “concerned about” breaching an order

made by the Cayman Islands court. Id. ¶ 46. For this reason, Cherkashin requests

that the Cayman Islands court enter an order appointing two independent receivers

of GVA Capital, who will be authorized to assume control of GVA Capital’s

business and operations. Id. The Cayman Islands court has not yet entered any

orders or other relief in that action.




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                                      ARGUMENT

I.       A TEMPORARY RESTRAINING ORDER MUST BE ISSUED TO
         PROTECT DEFINITION SERVICES’ SUBSTANTIAL INVESTMENT
         GAINS

         The purpose of a temporary restraining order (“TRO”) is “to protect the status

quo and to prevent imminent and irreparable harm from occurring before a

preliminary injunction hearing or the final resolution of a matter.” Newell

Rubbermaid Inc. v. Storm, 2014 WL 1266827, at *4 (Del. Ch. Mar. 27, 2014).

         To obtain a TRO, Definition Services must demonstrate a (1) “colorable

claim,” (2) that “it would be irreparably injured without interim injunctive relief,”

and (3) that “the balance of hardships tips in its favor.” Id. Definition Services’

required showing on the merits of its claims is “less exacting” at the TRO stage than

it would be at trial or a preliminary injunction hearing, with the “chief focus” on “the

nature and imminence of the allegedly impending injury.” Arkema Inc. v. Dow

Chem. Co., 2010 WL 2334386, at *3 (Del. Ch. May 14, 2010).

         A.        Definition Services States More Than Colorable Claims.

         The “colorable claim” element requires Definition Services to show

“essentially a non-frivolous cause of action.” Newell, 2014 WL 1266827, at *9

(citation omitted). This “lenient standard” is easily satisfied here. Reserves Dev.

Corp. v. Wilm. Tr. Co., 2008 WL 4951057, at *2 (Del. Ch. Nov. 7, 2008).

         Definition Services has established that until recently GVA Capital was

planning to distribute to Definition Services hundreds of millions of dollars’ worth
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of Luminar Shares, pursuant to the terms of the GVA Auto Operating Agreement.

This production was slated to occur shortly after the Luminar Shares become

unrestricted, on or about June 1, 2021. However, as a result of Odrison/Musaev

seizing control of GVA Capital, it has completely reversed course. Indeed, GVA

Capital now contends that all of Definition Services’ substantial gains effectively

belong to Odrison/Musaev based upon the Alleged Oral Agreement from years ago.

         However, Odrison’s/Musaev’s Alleged Oral Agreement is a fabrication,

unsupported by any contemporaneous evidence. And, even if it did exist (which it

does not), the Alleged Oral Agreement is unenforceable as a matter of law for several

reasons. First, the individuals who purportedly reached the Alleged Oral Agreement

had no authority to bind either party to such agreement. In particular, the purported

representative of Prosperity that Musaev identifies as his counterparty for the

Alleged Oral Agrement never had authority to bind Prosperity to any such

agreement. Similarly, it appears that Musaev never had authority to bind GVA

Capital to the Alleged Oral Agreement without the approval of Cherkashin, which

was never obtained.

         Second, the Alleged Oral Agreement violates the parties’ written agreement,

the Operating Agreement, which provides that “[a]ll profit and loss shall be allocated

to the Capital Accounts of the Members in proportion to their Percentage Interests.”

See Section 4.5(b). This provision cannot be amended through an oral agreement,


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as (i) Section 6.2 of the Operating Agreement states that “the prior written approval

of a Required Interest of Members” is required for “any amendment” to the

Operating Agreement and (ii) Section 11.1 similarly provides that the Operating

Agreement may not be modified or amended “without the written consent of the

Manager and the Members holding a Required Interest.”

         These facts present a clear basis for declaratory relief, including an order

declaring that the Alleged Oral Agreement is nonexistent and unenforceable and that

GVA Capital is required to distribute the Luminar Shares as set forth by the

Operating Agreement. See Compl., Count I. Definition Services has likewise stated

a valid claim for anticipatory repudiation based on GVA Capital’s stated intention

not to comply with the distribution provisions of the Operating Agreement. See

Compl., Count II; see also Kendall Associated Invs., LLC v. Mallard Creek Realty

Advisors, LLC, 2021 WL 736867, at *3 (Del. Ch. Feb. 25, 2021) (anticipatory

repudiation “occurs when, before the time for performance has arisen, a party to a

contract declares his intention not to fulfill a contractual duty”) (citation omitted);

W. Willow-Bay Court, LLC v. Robino-Bay Court Plaza, LLC, 2009 WL 458779, at

*5 (Del. Ch. Feb. 23, 2009) (“A party may repudiate an obligation through

statements . . . [or] through a voluntary and affirmative act rendering performance

apparently or actually impossible.”).




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         Finally, Definition Services has more than stated a colorable claim for breach

of fiduciary duty by GVA Capital. See Compl., Count III. As the Manager of GVA

Auto, GVA Capital owes Definition Services the “traditional fiduciary duties of

loyalty and care.” William Penn P’ship v. Saliba 13 A.3d 749, 756 (Del. 2011).

These duties have not been waived or modified in the Operating Agreement. GVA

Capital has breached its fiduciary duties by wrongfully asserting that the substantial

gains on the Luminar investment should be distributed to GVA Capital itself, instead

of Definition Services, and taking actions in furtherance of this assertion. Indeed, it

is difficult to conceive of a more self-interested breach of the duty of loyalty than

the theft of hundreds of millions of dollars in investment gains by a management

company from its own investor. But that is exactly what GVA Capital is attempting

to perpetrate here.

         B.        Definition Services will suffer Irreparable Harm without a TRO

         As set forth in Cherkashin’s Affidavit, Odrison’s/Musaev’s plan is to cause

GVA Capital to promptly distribute the Luminar Shares to itself. Thereafter, GVA

Capital will distribute the vast bulk of the Luminar Shares directly to Musaev,

providing Definition Services only enough shares to constitute a return of its

invested capital.

         Musaev is a Russian national, who lives in the Russian Federation and, upon

information and belief, the United Arab Emirates. If Musaev obtains possession of


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the Luminar Shares, he is unlikely to respect an order from any court to return the

shares or their equivalent value. Indeed, Cherkashin—Musaev’s longtime business

partner—stated in his affidavit that Musaev is willing to ignore court orders. See

Compl. ¶ 47.

         These circumstances plainly pose a threat of irreparable harm to Definition

Services. If Odrison/Musaev are permitted to carry out their plan, GVA Auto will

be quickly drained of its sole asset, the Luminar Shares. As a result, the value of

Definition Services’ 95% ownership interest in GVA Auto will be reduced to zero.

GVA Capital will likewise be drained of value, as the vast majority of the Luminar

Shares will be immediately transferred to Musaev and/or his affiliates. At this point,

Definition Services will be left with a claim for hundreds of millions of dollars

against an entity that will be unable to satisfy any judgment.

         The definition of irreparable injury is harm for which there can be “no

adequate remedy at law.” In re Cogent, Inc. S’holder Litig., 7 A.3d 487, 513 (Del.

Ch. 2010). Thus, where a defendant plans to dissipate assets, resulting in an

insolvent or otherwise effectively judgement proof defendant, this Court has long

held that threatened irreparable injury exists. See, e.g., Kansas City S. v. Grupo

TMM, S.A., 2003 WL 22659332, at *5 (Del. Ch. Nov. 4, 2003) (finding that plaintiff

“will suffer irreparable harm if the injunction does not issue, as TMM may be unable

to satisfy a money judgment”); Mitsubishi Power Sys. Ams., Inc. v. Babcock &


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Brown Infrastructure Grp. US, LLC, 2009 WL 1199588, at *4-5 (Del. Ch. Apr. 24,

2009) (finding threat of irreparable injury where plaintiff had established likelihood

that defendant would engage in fraudulent transfers of company assets); Drawbridge

Special Opportunities Fund LP v. PRC Williston LLC, C.A. No. 9166-VCL, at 25

(Del. Ch. Dec. 23, 2013) (TRANSCRIPT) (noting irreparable harm exists where

threatened transaction “would render an entity insolvent or create a substantial risk

of insolvency”); Destra Targeted Income Unit Inv. Tr. v. Parmar, C.A. No. 13006-

VCL, at 45 (Del. Ch. Jan. 25, 2017) (TRANSCRIPT) (finding threat of irreparable

harm where defendant was likely to dissipate transaction proceeds, thereby rending

him incapable of later satisfying a judgment).5

         These authorities are directly applicable here.   Absent injunctive relief,

Definition Services’ valuable equity ownership of GVA Auto will be rendered

worthless and Definitions Services will be left with nothing but a claim for damages

against an entity incapable of satisfying the judgment.

         Furthermore, the issues presented here are inextricably bound up in Delaware

law and should be decided by a Delaware court.             This action concerns the

enforcement of an operating agreement of a Delaware limited liability company


         See also Tanimura & Antle, Inc. v. Packed Fresh Produce, Inc., 222 F.3d
         5

132, 139–41 (3d Cir. 2000) (reversing trial court because it failed to recognize that
dissipation of assets “can render money damages inadequate, thereby necessitating
equitable relief, especially when the dissipation will clearly result in the debtor’s
inability ultimately to make payment”).
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against its manager, GVA Capital. The fact that Cherkashin has separately sought

injunctive relief in the Cayman Islands does not dispel the threat of irreparable

injury. Indeed, the Cayman Islands court has not yet ruled on Cherkashin’s claims

or request for preliminary injunctive relief. Moreover, Definition Services is not a

party to the Cayman Islands action and, therefore, is unable to protect its interests in

that court. As such, this Court should decide the important issues raised by this

proceeding.

         C.        The Balance of Hardships Favors Definition Services

         Definition Services is seeking an order prohibiting GVA Capital from doing

something the Operating Agreement already says it cannot do. A party “suffer[s] no

harm as a result of the enforcement of contractual provisions to which [it] agreed.”

Vill. Green Hldg., LLC v. Holtzman, 2018 WL 4849964, at *8 (Del. Ch. Oct. 5,

2018). Furthermore, Definition Services merely seeks to preserve the status quo by

requesting an order prohibiting any distribution or other transactions related to the

Luminar Shares until this Court has an opportunity to decide the claims. Such an

order does not threaten any harm to GVA Capital. By contrast, the absence of an

injunction threatens great harm to Definition Services as it appears that GVA Capital

(now under the control of Odrison/Musaev) will dissipate the Luminar Shares

beyond the reach of this Court if not immediately restrained.




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II.      THE COURT SHOULD ORDER EXPEDITED PROCEEDINGS

         Having satisfied the standard for entry of a temporary restraining order,

Definition Services easily satisfies the similar standard for expedited proceedings.

The Court will expedite proceedings where the movant has “articulated a sufficiently

colorable claim and shown a sufficient possibility of a threatened irreparable injury.”

See Giammargo v. Snapple Beverage Corp., 1994 WL 672698, at *2 (Del. Ch. Nov.

15, 1994). In applying this standard, the Court “traditionally has acted with a certain

solicitude for plaintiffs” and “has followed the practice of erring on the side of more

[expedited proceedings] rather than fewer.” Id. Indeed, the Delaware Supreme

Court has observed that “Delaware courts are always receptive to expediting any

type of litigation in the interests of affording justice to the parties,” and the Court of

Chancery in particular is “renowned” for its “expedited decisionmaking.” Box v.

Box, 697 A.2d 395, 398-99 (Del. 1997).

         For the reasons set forth above, Definition Services has alleged colorable

claims and demonstrated threatened irreparable injury. Accordingly, this Court

should grant Definition Services’ motion for expedited proceedings with an

expedited trial scheduled for October 2021.

                                   CONCLUSION

         For the foregoing reasons, the Court should grant Definition Services’

motions for temporary restraining order and expedited proceedings.


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                                        /s/ Brock E. Czeschin
                                        Brock E. Czeschin (#3938)
                                        Christian Roberts (#6694)
                                        RICHARDS, LAYTON & FINGER,
                                        P.A.
                                        920 North King Street
                                        Wilmington, Delaware 19801
                                        (302) 651-7700
                                        Attorneys for Plaintiff Definition
 Dated: April 26, 2021                  Services Inc.

                                        Words: 4,772




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                                                  EFiled: Apr 26 2021 04:06PM EDT
                                                  Transaction ID 66548167
                                                  Case No. 2021-0357-

 Christian C.F. Roberts
 (302) 651-7616
 CRoberts@rlf.com


 April 26, 2021

BY ELECTRONIC FILING

Register in Chancery
Court of Chancery of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, Delaware 19801

                   Re:   Definition Services Inc. v. GVA Capital LTD,
                         C.A. No. 2021- -

Dear Register in Chancery:

         Plaintiff Definition Services Inc. (“Plaintiff”), today filed a Verified

Complaint Seeking Temporary Restraining Order and Other Relief against

Defendant GVA Capital LTD (“Defendant”). In connection therewith, Plaintiff will

be using Brandywine Process Servers, Ltd., as Special Process Servers, to serve

Defendant. I would appreciate it if someone from your office could prepare the

appropriate summonses addressed as follows:

 GVA Auto, LLC
 Pursuant to 6 Del. C. § 18-109
 c/o Harvard Business Services, Inc.
 16192 Costal Hwy
 Lewes, Delaware 19958



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          I would greatly appreciate a phone call from your office when the summonses

 are prepared. If you have any questions concerning this request, please do not

 hesitate to contact me at (302) 651-7616.


                                               Respectfully,

                                               /s/ Christian C.F. Roberts

                                               Christian C.F. Roberts (#6694)

                                               Words: 112




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                                                   Transaction ID 66548167
                                                   Case No. 2021-0357-

  Christian C.F. Roberts
  (302) 651-7616
  CRoberts@rlf.com


  April 26, 2021

 BY E-FILE & HAND DELIVERY

 The Honorable Andre G. Bouchard
 Court of Chancery of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, Delaware 19801

                    Re:   Definition Services Inc. v. GVA Capital LTD,
                          C.A. No. 2021- -

 Dear Chancellor Bouchard:

          I write on behalf of Plaintiff in connection with the above-referenced action,

 which was filed today. Enclosed are two courtesy copies of the Verified Complaint

 Seeking Temporary Restraining Order and Other Relief, Plaintiff’s Motion for a

 Temporary Restraining Order, Motion for Expedited Proceedings, Opening Brief in

 Support of Its Motions for Temporary Restraining Order and Expedited Proceedings,

 and the accompanying papers for each of the foregoing.

          Plaintiff respectfully requests that the Court assign this matter promptly so

 that it may present their motions for expedited proceedings and for a temporary

 restraining order at the Court’s earliest convenience.




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 The Honorable Andre G. Bouchard
 April 26, 2021
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                    If Your Honor should have any questions, undersigned counsel remains

 available at the Court’s convenience.



                                                  Respectfully,

                                                  /s/ Christian C.F. Roberts

                                                  Christian C.F. Roberts (#6694)

                                                  Words: 112




 RLF1 25173693v.1
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 103 of 165 PageID #: 111
                                                   EFiled: Apr 26 2021 05:33PM EDT
                                                   Transaction ID 66549434
                                                   Case No. 2021-0357-
              SUPPLEMENTAL INFORMATION PURSUANT TO RULE 3(A)
                   OF THE RULES OF THE COURT OF CHANCERY

 The information contained herein is for the use by the Court for statistical and administrative
 purposes only. Nothing stated herein shall be deemed an admission by or binding upon any party.

 1. Caption of Case:    Definition Services Inc. v. GVA Capital LTD, C.A. No. 2021-0357-___

 2. Date Filed:         April 26, 2021

 3. Name and address of counsel for plaintiff(s):
       Brock E. Czeschin (#3938)
       Christian C.F. Roberts (#6694)
       Richards Layton & Finger P.A.
       920 North King Street
       Wilmington, DE 19801

 4. Short statement and nature of claim asserted: Plaintiff seeks to enjoin breach of Operating
 Agreement and recover damages for breaches of fiduciary duty and Operating Agreement.

 5. Substantive field of law involved (check one):
 ____Administrative law             ____Labor law                       ____Trusts, Wills and Estates
 __X__Commercial law                ____Real Property                   ____Consent trust petitions
 ____Constitutional law             ____348 Deed Restriction            ____Partition
 ___ Corporation law                ____Zoning                          ____Rapid Arbitration (Rules 96,97)
 ____Trade secrets/trade mark/or other intellectual property            ____Other

 6. Related cases, including any Register of Wills matters (this requires copies of all documents in
 this matter to be filed with the Register of Wills): None

 7. Basis of court’s jurisdiction (including the citation of any statute(s) conferring jurisdiction):
 6 Del. C. § 18-111; 6 Del. C. § 18-109; 10 Del. C. § 341; 10 Del. C. § 6501

 8. If the complaint seeks preliminary equitable relief, state the specific preliminary relief sought.
 Plaintiffs seeks a temporary restraining order enjoining Defendant from proceeding with
 self-interested distribution in breach of the Operating Agreement.

 9. If the complaint seeks a TRO, summary proceedings, a Preliminary Injunction, or Expedited
 Proceedings, check here _X__. (If #9 is checked, a Motion to Expedite must accompany the
 transaction.)

 10. If the complaint is one that in the opinion of counsel should not be assigned to a Master in
 the first instance, check here and attach a statement of good cause. __X__

                                                               /s/ Brock E. Czeschin
                                                               Brock E. Czeschin (#3938)


                                                    1
 RLF1 25174461v.1
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 104 of 165 PageID #: 112
                                                   EFiled: Apr 27 2021 11:43AM EDT
                                                   Transaction ID 66551237
                                                   Case No. 2021-0357-KSJM
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Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 108 of 165 PageID #: 116
                                                   EFiled: Apr 28 2021 06:38PM EDT
                                                   Transaction ID 66556958
                                                   Case No. 2021-0357-KSJM

  Christian C.F. Roberts
  (302) 651-7616
  CRoberts@rlf.com


  April 28, 2021

 BY ELECTRONIC FILING
 Register in Chancery
 Court of Chancery of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, Delaware 19801

                    Re:   Definition Services Inc. v. GVA Capital LTD,
                          C.A. No. 2021-0357-KSJM

 Dear Register in Chancery:

          Plaintiff Definition Services Inc. (“Plaintiff”), filed a Verified Complaint

 Seeking Temporary Restraining Order and Other Relief against Defendant GVA

 Capital LTD (“GVA Capital”) on April 26, 2021. Trans. ID 66548167. Service on

 GVA Capital was accomplished on April 28, 2021, by Special Process Server on the

 registered agent of GVA Auto, LLC.

          Please complete service pursuant to 6 Del. C. § 18-109 on GVA Capital.

 Please send by registered mail one copy of the Verified Complaint Seeking

 Temporary Restraining Order and Other Relief and the ancillary documents filed

 therewith, the Motion for a Temporary Restraining Order and [proposed] order filed



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 therewith, the Motion for Expedited Proceedings and [proposed] order filed

 therewith, and Plaintiff’s Opening Brief in support of its Motions for Temporary

 Restraining Order and Expedited Proceedings, together with a statement that service

 is being made pursuant to 6 Del. C. § 18-109, to GVA Capital at each of the

 following addresses:

          1. GVA Capital LTD
             c/o GVA Auto, LLC
             908 Broadway
             San Francisco, CA 94133

          2. GVA Capital LTD
             906 Broadway
             San Francisco, CA 94177

          I have enclosed with this letter three copies of the Verified Complaint Seeking

 Temporary Restraining Order and Other Relief and ancillary documents filed

 therewith, the Motion for a Temporary Restraining Order and [proposed] order filed

 therewith, the Motion for Expedited Proceedings and [proposed] order filed

 therewith, and Plaintiff’s Opening Brief in support of its Motions for Temporary

 Restraining Order and Expedited Proceedings. If you have any questions concerning

 this request, please do not hesitate to contact me at (302) 651-7616.




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                                          Respectfully,

                                          /s/ Christian C.F. Roberts

                                          Christian C.F. Roberts (#6694)

                                          Words: 256




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                                                   EFiled: Apr 28 2021 06:38PM EDT
                                                   Transaction ID 66556958
                                                   Case No. 2021-0357-KSJM
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                                                   EFiled: May 05 2021 03:18PM EDT
                                                   Transaction ID 66574578
                                                   Case No. 2021-0357-KSJM
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Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 116 of 165 PageID #: 124
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Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 121 of 165 PageID #: 129
                                                   EFiled: May 17 2021 08:17PM EDT
                                                   Transaction ID 66608528
                                                   Case No. 2021-0357-KSJM
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

   DEFINITION SERVICES INC.,                 )
                                             )
                       Plaintiff,            )
                                             )
         v.                                  )   C.A. No. 2021-0357-KSJM
                                             )
   GVA CAPITAL LTD.,                         )
                                             )
                       Defendant.            )


                            [PROPOSED] STIPULATED
                              STATUS QUO ORDER

       WHEREAS, plaintiff Definition Services Inc. (“Definition Services”) and

 defendant GVA Capital Ltd. (“GVA Capital”) (together, the “Parties”) have agreed

 to preserve and maintain the status quo with regard to their rights and interests in

 GVA Auto LLC (“GVA Auto”) and its assets pending final resolution of this action;

       WHEREAS, GVA Auto currently owns as its principal asset shares of

 common stock of Luminar Technologies, Inc. (the “Luminar Shares”), which are

 subject to lockup restrictions until on or about June 1, 2021;

       WHEREAS, Vladimir Smirnov’s Net Investment in GVA Auto is $1.5

 million and his Percentage Interest in GVA Auto is 5%;

       WHEREAS, Definition Services’ Net Investment in GVA Auto is

 $18.5 million;
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       WHEREAS, other than as set forth in this Stipulation, the Parties disagree as

 to the appropriate distribution of the Luminar Shares;

       WHEREAS, in connection with separate proceedings in the Cayman Islands

 (the “Cayman Proceedings”), GVA Capital has undertaken not to “[m]ake any

 distribution or transfer (or give instructions to any third party to cause such

 distribution or transfer) of the assets of GVA Auto, LLC, including the interest that

 GVA Auto, LLC has in any securities issued by Luminar Technologies, Inc.” (the

 “Undertaking”);

       WHEREAS, the Parties have agreed that, once the lockup restrictions on the

 Luminar Shares expire and the Undertaking is modified or dissolved, the Luminar

 Shares shall be transferred to an escrow agent jointly designated by the Parties; and

       WHEREAS, Definition Services has agreed to pay the costs associated with

 the escrow agent and escrow account;

       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, subject

 to the approval of the Court, that:

       1.     Except as expressly provided herein, GVA Capital, in its capacity as

 Manager of GVA Auto or otherwise, shall not undertake, authorize, approve, or

 facilitate any direct or indirect distribution, sale, transfer, contribution, pledge,

 encumbrance, or other transaction involving or implicating the Luminar Shares, or

 any related rights or interests held by GVA Auto.
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       2.     The Parties shall ensure that, upon the expiration of the lockup

 restrictions on the Luminar Shares and the modification or dissolution of the

 Undertaking, the Luminar Shares will be transferred to an account (the “Escrow

 Account”) established by an escrow agent (the “Escrow Agent”) jointly designated

 by the Parties. Except as otherwise provided in this Order, the Escrow Agent will

 be authorized and directed to hold the Luminar Shares in the Escrow Account until

 it receives either joint instructions from the Parties or an order of the Court directing

 how the Luminar Shares are to be distributed.

       3.     GVA Capital shall promptly seek to modify or dissolve the Undertaking

 as necessary to permit the transfer of the Luminar Shares to the Escrow Account on

 or before June 1, 2021. In the event that the Undertaking has not been modified or

 dissolved as necessary to permit the transfer of the Luminar Shares to the Escrow

 Account prior to the expiration of the lockup restrictions, then the Parties agree to

 take steps to ensure that the Luminar Shares shall remain with the Luminar transfer

 agent and/or will be held in another secure location mutually agreed upon by the

 Parties until the Luminar Shares can transferred to the Escrow Account.

       4.     Notwithstanding anything to the contrary herein, within 30 days of

 receipt of the Luminar Shares by the Escrow Agent, Definition Services and GVA

 Capital shall agree to a written resolution declaring and instructing GVA Auto to

 make an in-kind distribution of all of the Luminar Shares to the Members of GVA
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 Auto in accordance with Section 5.2 and 5.3 of the Operating Agreement (the

 “Permitted Distribution”), in which the Escrow Agent shall be jointly instructed to

 distribute the Luminar Shares as follows:

       (a) the number of Luminar Shares to be distributed to Mr. Smirnov in such

       Permitted Distribution will be deposited into an account designated in writing

       by Mr. Smirnov;

       (b) the number of Luminar Shares to be distributed to GVA Capital in respect

       of the Manager Carried Interest attributable to the Luminar Shares to be

       distributed to Mr. Smirnov in such Permitted Distribution will be deposited

       into an account designated in writing by GVA Capital;

       (c) the number of Luminar Shares to be distributed to Definition Services in

       such Permitted Distribution equal to its Net Investment amount ($18,500,000)

       will be deposited into an account designated in writing by Definition Services;

       and

        (d) the remaining Luminar Shares to be distributed in the Permitted

       Distribution shall remain in the Escrow Account pending joint instructions by

       the Parties or an order of the Court.

       5.    For purposes of the Permitted Distribution, the fair market value of each

 of the Luminar Shares shall be deemed to be equal to the closing price of the shares

 of common stock of Luminar Technologies, Inc. as quoted on The Nasdaq Stock
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 Market LLC at the close of business on the business day prior to the date the

 Permitted Distribution is duly declared by GVA Capital. GVA Capital shall take

 such steps as necessary to ensure that its declaration of the Permitted Distribution

 does not violate the Undertaking and is valid and enforceable under the GVA Auto,

 LLC Operating Agreement and GVA Capital’s Memorandum and Articles of

 Association. The Parties shall provide joint instructions to the Escrow Agent to

 distribute the Luminar Shares in accordance with this Order within two business

 days of GVA Capital’s declaration of the Permitted Distribution.

       6.     Following the Permitted Distribution, the restrictions of this Order shall

 no longer apply to those Luminar Shares that are distributed in accordance with

 Paragraph 3(a), (b), and (c).

       7.     Except as expressly provided herein, until the final resolution of this

 action, the Parties shall not undertake any action with respect to GVA Auto outside

 of the ordinary course of business.

       8.     The restrictions imposed by this Order shall apply to the Parties and

 their affiliates, including, but not limited to, their members, managers, directors,

 employees, agents, or other persons under their control or acting at their direction.

       9.     The restrictions imposed by this Order may be waived on a case-by-

 case basis by the prior written agreement of counsel of record in this action for both

 (a) Definition Services and (b) GVA Capital.
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 126 of 165 PageID #: 134




        10.     The Parties’ agreement to this Order is without prejudice to the Parties’

 rights, claims, arguments and defenses in the action, nor will it be deemed an

 admission by any Party or an adjudication by the Court of the merits of any of the

 Parties’ rights, claims, arguments or defenses in this action.

        11.    The Parties may petition the Court at any time to vacate or modify this

 Order. Unless otherwise modified or vacated by the Court, this Order shall remain

 in full force and effect until the final resolution of this action.




  ROSS ARONSTAM & MORITZ LLP                   RICHARDS, LAYTON & FINGER,
                                               P.A.

  /s/ Adam Gold                                /s/ Brock E. Czeschin
  Bradley R. Aronstam (#5129)                  Brock E. Czeschin (#3938)
  Adam Gold (#6412)                            Christian Roberts (#6694)
  100 South West St, Suite 400                 One Rodney Square
  Wilmington, DE 19801                         920 North King Street
  (302) 576-1600                               Wilmington, Delaware 19801
                                               (302) 651-7700
  Of Counsel:
                                               Attorneys for Plaintiff Definition
                                               Services Inc.
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 127 of 165 PageID #: 135




  Elliot R. Peters
  David J. Silbert
  Nicholas D. Marais
  Tara M. Rangchi
  KEKER, VAN NEST & PETERS LLP
  633 Battery Street
  San Francisco, California 94111

  Attorney for Defendant GVA Capital
  Ltd.


  Dated: May 17, 2021


       SO ORDERED this ______ day of _______________, 2021.


                               _______________________________________
                               Vice Chancellor Kathaleen St. Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 128 of 165 PageID #: 136
                                                   EFiled: May 18 2021 09:56AM EDT
                                                   Transaction ID 66609157
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 DEFINITION SERVICES, INC.             )
                                       )
                    Plaintiffs,        )
                                       )
       v.                              )      C.A. No. 2021-0357-KSJM
                                       )
 GVA CAPITAL LTD.                      )
                                       )
                    Defendants.        )

                           ENTRY OF APPEARNACE

       PLEASE ENTER THE APPEARANCE of Ryan D. Stottmann of Morris,

 Nichols, Arsht & Tunnell LLP on behalf of Interested Non-Party Pavel Cherkashin

 the above-captioned action.

                                           MORRIS, NICHOLS, ARSHT &
                                            TUNNELL LLP

                                           /s/ Ryan D. Stottmann
  OF COUNSEL:                              Ryan D. Stottmann (#5237)
                                           1201 N. Market Street
  Kathleen Goodhart                        Wilmington, DE 19801
  Amy M. Smith                              Attorney for Interested Non-Party
  COOLEY LLP                                Pavel Cherkashinin
  101 California Street, 5th Floor
  San Francisco, CA 94111-5800
  (415) 693-2000

 May 18, 2021
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 129 of 165 PageID #: 137




                         CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2021, copies of the foregoing documents were

 served upon the following counsel of record via File &ServeXpress:

                          Brock E. Czeschin, Esquire
                          Christian C. F. Roberts, Esquire
                          RICHARDS, LAYTON & FINGER, P.A.
                          One Rodney Square
                          920 North King Street
                          Wilmington, DE 19801


                                /s/ Ryan D. Stottmann
                                Ryan D. Stottmann (#5237)
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 130 of 165 PageID #: 138
                                                           EFiled: May 18 2021 09:56AM EDT
              M O R R I S , N I C H O L S , A R S H T & T UTransaction
                                                            N N ENo.
                                                           Case
                                                                        ID 66609157
                                                                  L L 2021-0357-KSJM
                                                                       LLP

                                         1201 N ORTH M ARKET S TREET
                                                P.O. B OX 1347
                                     W ILMINGTON , D ELAWARE 19899-1347

                                                (302) 658-9200
                                             (302) 658-3989 FAX

 RYAN D. STOTTMANN
 (302) 351-9430
 (302) 425-4676 FAX
 rstottmann@morrisnichols.com

                                               May 18, 2021


 BY E-FILING AND HAND DELIVERY

 Chancellor Kathaleen S. McCormick
 Chancery Court
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801
                     Re:        Definition Services, Inc. v. GVA Capital Ltd.
                                C.A. No. 2021-0357-KSJM

 Dear Chancellor McCormick:

                     We represent non-party Pavel Cherkashin, and we write with respect to

 the [Proposed] Stipulated Status Quo Order (“Proposed Order”) filed last night by

 Plaintiff Definition Services, Inc. (“Definition”) and Defendant GVA Capital Ltd.

 (“GVA Capital”) (collectively, the “Parties”).                   The Proposed Order fails to

 appropriately account for Mr. Cherkashin’s rights and interests in the April 30, 2021

 order of the Grand Court of the Cayman Islands issued in Cherkashin et al. v. GVA

 Capital Ltd. & Odrison Investments Limited, No. FSD 94 of 2021 (NSJ) (the

 “Cayman Court Order”).
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 131 of 165 PageID #: 139

 Chancellor Kathaleen S. McCormick
 May 18, 2021
 Page 2


 Background

              In his role as a director of GVA Capital, the manager of GVA Auto

 LLC (“GVA Auto”), Mr. Cherkashin oversaw the management of GVA Auto and

 its shares of common stock of Luminar Technologies, Inc. (“Luminar Shares”). As

 detailed in Definition’s complaint, Mr. Cherkashin filed suit in the Cayman Islands

 court (the “Cayman Proceeding”) seeking emergency relief to enjoin any transfer of

 GVA Auto’s assets and preserve the Luminar Shares until a court could determine

 the proper distribution to shareholders. Pursuant to the GVA Auto Operating

 Agreement, GVA Capital is entitled to a 10% carried interest in distributions made

 to GVA Auto shareholders. Mr. Cherkashin is a shareholder of GVA Capital and

 entitled to 35% of the GVA Capital carried interest, pursuant to the GVA Capital

 Articles of Association (“Articles”).

              As a result of Mr. Cherkashin’s filings in the Grand Court, on April 23,

 2021, GVA Capital agreed to a series of undertakings, including that it would not

 “make any distribution or transfer (or give instructions to any third party to cause

 such distribution or transfer) of the assets of GVA Auto, LLC, including the interest

 that GVA Auto, LLC has in any securities issued by Luminar Technologies, Inc.”

 The Grand Court adopted GVA Capital’s undertakings, resulting in the Cayman

 Court Order, attached hereto as Exhibit 1.
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 Chancellor Kathaleen S. McCormick
 May 18, 2021
 Page 3


 The Proposed Order

              Although the Proposed Order is presented to the Court as a “status quo”

 order, it is not. To the contrary, it is a request of this Court to bless a stipulation by

 the Parties that is contrary to, and contemplates the revision of, the existing Cayman

 Court Order, and it proposes a distribution of shares to certain parties and non-

 parties, but not to Mr. Cherkashin.

              In the Proposed Order, the Parties agree to transfer all Luminar Shares

 to an escrow account designated by the Parties (“Escrow Account”), and then

 authorize distribution of Luminar Shares to:

              (1)    GVA Auto stockholder Vladimir Smirnov (in proportion to his

                     5% share of GVA Auto);

              (2)    GVA Capital (in the amount attributable to its Manager Carried

                     Interest for Mr. Smirnov’s distribution, as defined in the

                     Proposed Order);

              (3)    Definition Services (in the amount equal to its Net Investment,

                     as defined in the Proposed Order)

 (¶ 4.) The Parties acknowledge that the Cayman Court Order prohibits any transfer

 or distribution of the Luminar Shares, but the Proposed Order contemplates that

 GVA Capital will seek to modify or dissolve its “undertaking” in the Cayman Islands
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 Chancellor Kathaleen S. McCormick
 May 18, 2021
 Page 4


 which, in fact, is incorporated in an order of the Grand Court. (See Proposed Order

 ¶¶ 2, 3, 5.) Recognizing the possibility that the Grand Court may refuse to modify

 the Cayman Court Order, Paragraph 3 of the Proposed Order remarkably asserts that

 the Parties will nevertheless transfer the Luminar Shares to “another secure location

 mutually agreed upon by the Parties.”

              GVA Capital’s apparent goal in seeking to revise, dissolve or ignore

 the Cayman Court Order is to gain control over the Luminar Shares without

 distributing the carried interest associated with those shares to Mr. Cherkashin

 pursuant to the Articles. If that were not the case, GVA Capital would agree to Mr.

 Cherkashin’s request of the Parties that the Escrow Account contemplated by the

 Proposed Order would also be to the benefit of Mr. Cherkashin, and the Luminar

 Shares would not be distributed from the Escrow Account without Mr. Cherkashin’s

 consent.

              Mr. Cherkashin understands that Definition Services is agreeable to an

 order that requires Mr. Cherkashin’s consent for transfer of the Luminar Shares out

 of the Escrow Account. GVA Capital’s agreement to do so would result in an order

 that could be jointly presented to the Grand Court of the Cayman Islands, as well as

 to this Court. Instead, GVA Capital asks this Court to issue an order that expressly
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 Chancellor Kathaleen S. McCormick
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 Page 5


 contemplates deviation from or violation of the existing Cayman Court Order to

 which GVA Capital is bound.

             Mr. Cherkashin is not opposed to the Luminar Shares being transferred

 into the contemplated Escrow Account if the Proposed Order appropriately accounts

 for Mr. Cherkashin’s interests. Mr. Cherkashin respectfully requests that the Court

 modify the Proposed Order to require that any transfer of the Luminar Shares out of

 the Escrow Account will require Mr. Cherkashin’s, in addition to the Parties’,

 approval.

             As always, counsel are available at the Court’s convenience, including

 at what we understand to be the hearing currently scheduled for May 21 at 11:00

 a.m.

                                       Respectfully,

                                       /s/ Ryan D. Stottmann

                                       Ryan D. Stottmann (#5237)

                                       Words: 821

 RDS
 Enclosure
 cc: Brock E. Czeschin, Esquire (via File&ServeXpress)
       Christian C. F. Roberts, Esquire (via File&ServeXpress)
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 135 of 165 PageID #: 143
                                                   EFiled: May 18 2021 09:56AM EDT
                                                   Transaction ID 66609157
                                                   Case No. 2021-0357-KSJM




                           EXHIBIT 1
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 136 of 165 PageID #: 144




       IN THE GRAND COURT OF THE CAYMAN ISLANDS
       FINANCIAL SERVICES DIVISION

                                                                 CAUSE NO: FSD 94 OF 2021 (NSJ)

       BETWEEN:

                                 (1)     PAVEL CHERKASHIN
                                 (2)     PAVEL CHERKASHIN (DERIVATIVELY ON
                                         BEHALF OF GVA CAPITAL LTD)

                                                                                               PLAINTIFFS

       AND:

                                 (1)     GVA CAPITAL LTD
                                 (2)     ODRISON INVESTMENTS LIMITED

                                                                                             DEFENDANTS



                                             ORDER BY CONSENT


       UPON the hearing of the Plaintiffs' Ex Parte Summons dated 19 April 2021 (the
       Summons)


       AND UPON hearing counsel for the Plaintiffs, and there being no appearance by the
       Defendants


       AND UPON the Court reading a letter dated 23 April 2021 from Harney Westwood &
       Riegels, the attorneys for the First Defendant GVA Capital Ltd (GVA), to KSG, the




       This Order was filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
       Centre, 42 North Church Street, PO Box 2255, Grand Cayman KYl-1107, Cayman Islands [JK/MR/2101]
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 137 of 165 PageID #: 145




        attorneys for the Plaintiffs, by which GVA offered, without making any admission and
       without prejudice to its position, to undertake to the Court that it shall not:


            1. Make any distribution or transfer (or give instructions to any third party to
                cause such distribution or transfer) of the assets of GVA Auto, LLC, including
                the interest that GVA Auto, LLC has in any securities issued by Luminar
                Technologies, Inc.; and


            2. Issue or cause to be issued any further shares or equity interests, or any rights
                or interests capable of becoming a share or equity interest, in GVA,


        until the conclusion of the inter partes hearing of the Summons (the.Undertakings)


        AND UPON the Court making no determinations or findings in respect of the Plaintiffs'
        allegations against GVA, and being willing to accept the Undertakings but indicating
        that it is appropriate that the Undertakings be incorporated into an order of the Court


        IT IS HEREBY ORDERED AND DIRECTED that:


            1. The ex parte hearing of the Summons be adjourned to allow the Plaintiffs and

                GVA to incorporate the Undertakings into an order of the Court;

            2. In the event that GVA does not agree to incorporate the Undertakings into an

                order of the Court, the Plaintiffs have leave to restore the Summons on an ex

                parte basis on 1 business days' notice;

            3. The Plaintiffs and GVA have liberty to apply for directions in respect of the inter

                partes hearing Summons; and

            4. Costs reserved.




        This Order was filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
        Centre, 42 North Church Street, PO Box 2255, Grand Cayman KYl-1107, Cayman Islands [JK/MR/2101]
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 138 of 165 PageID #: 146




       AND IT IS HEREBY NOTED, by this Order and in satisfaction of paragraph 1 above,
       that the Court accepts the Undertakings.


       DATED the __ day of                      I   2021
       FILED the __ day of                      I   2021




       THE HON. JUSTICE SEGAL
       JUDGE OF THE GRAND COURT




       This Order was filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
       Centre, 42 North Church Street, PO Box 2255, Grand Cayman KYl-1107, Cayman Islands [JK/MR/2101]
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 139 of 165 PageID #: 147




       Approved as to form and content:




       KSG                                        HARN WESTWOOD & RIEGELS
       Attorneys for the Plaintiffs               Attorneys for the First Defendant




       This Order was filed by KSG, attorneys for the Plaintiffs, whose address for service is 4th Floor Harbour
       Centre, 42 North Church Street, PO Box 2255, Grand Cayman KYl-1107, Cayman Islands [JK/MR/2101]
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 140 of 165 PageID #: 148
                                                   EFiled: May 18 2021 11:23AM EDT
                                    GRANTED        Transaction ID 66609811
                                                   Case No. 2021-0357-KSJM
     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

   DEFINITION SERVICES INC.,                 )
                                             )
                       Plaintiff,            )
                                             )
         v.                                  )   C.A. No. 2021-0357-KSJM
                                             )
   GVA CAPITAL LTD.,                         )
                                             )
                       Defendant.            )


                            [PROPOSED] STIPULATED
                              STATUS QUO ORDER

       WHEREAS, plaintiff Definition Services Inc. (“Definition Services”) and

 defendant GVA Capital Ltd. (“GVA Capital”) (together, the “Parties”) have agreed

 to preserve and maintain the status quo with regard to their rights and interests in

 GVA Auto LLC (“GVA Auto”) and its assets pending final resolution of this action;

       WHEREAS, GVA Auto currently owns as its principal asset shares of

 common stock of Luminar Technologies, Inc. (the “Luminar Shares”), which are

 subject to lockup restrictions until on or about June 1, 2021;

       WHEREAS, Vladimir Smirnov’s Net Investment in GVA Auto is $1.5

 million and his Percentage Interest in GVA Auto is 5%;

       WHEREAS, Definition Services’ Net Investment in GVA Auto is

 $18.5 million;
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 141 of 165 PageID #: 149




       WHEREAS, other than as set forth in this Stipulation, the Parties disagree as

 to the appropriate distribution of the Luminar Shares;

       WHEREAS, in connection with separate proceedings in the Cayman Islands

 (the “Cayman Proceedings”), GVA Capital has undertaken not to “[m]ake any

 distribution or transfer (or give instructions to any third party to cause such

 distribution or transfer) of the assets of GVA Auto, LLC, including the interest that

 GVA Auto, LLC has in any securities issued by Luminar Technologies, Inc.” (the

 “Undertaking”);

       WHEREAS, the Parties have agreed that, once the lockup restrictions on the

 Luminar Shares expire and the Undertaking is modified or dissolved, the Luminar

 Shares shall be transferred to an escrow agent jointly designated by the Parties; and

       WHEREAS, Definition Services has agreed to pay the costs associated with

 the escrow agent and escrow account;

       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, subject

 to the approval of the Court, that:

       1.     Except as expressly provided herein, GVA Capital, in its capacity as

 Manager of GVA Auto or otherwise, shall not undertake, authorize, approve, or

 facilitate any direct or indirect distribution, sale, transfer, contribution, pledge,

 encumbrance, or other transaction involving or implicating the Luminar Shares, or

 any related rights or interests held by GVA Auto.
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 142 of 165 PageID #: 150




       2.     The Parties shall ensure that, upon the expiration of the lockup

 restrictions on the Luminar Shares and the modification or dissolution of the

 Undertaking, the Luminar Shares will be transferred to an account (the “Escrow

 Account”) established by an escrow agent (the “Escrow Agent”) jointly designated

 by the Parties. Except as otherwise provided in this Order, the Escrow Agent will

 be authorized and directed to hold the Luminar Shares in the Escrow Account until

 it receives either joint instructions from the Parties or an order of the Court directing

 how the Luminar Shares are to be distributed.

       3.     GVA Capital shall promptly seek to modify or dissolve the Undertaking

 as necessary to permit the transfer of the Luminar Shares to the Escrow Account on

 or before June 1, 2021. In the event that the Undertaking has not been modified or

 dissolved as necessary to permit the transfer of the Luminar Shares to the Escrow

 Account prior to the expiration of the lockup restrictions, then the Parties agree to

 take steps to ensure that the Luminar Shares shall remain with the Luminar transfer

 agent and/or will be held in another secure location mutually agreed upon by the

 Parties until the Luminar Shares can transferred to the Escrow Account.

       4.     Notwithstanding anything to the contrary herein, within 30 days of

 receipt of the Luminar Shares by the Escrow Agent, Definition Services and GVA

 Capital shall agree to a written resolution declaring and instructing GVA Auto to

 make an in-kind distribution of all of the Luminar Shares to the Members of GVA
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 143 of 165 PageID #: 151




 Auto in accordance with Section 5.2 and 5.3 of the Operating Agreement (the

 “Permitted Distribution”), in which the Escrow Agent shall be jointly instructed to

 distribute the Luminar Shares as follows:

       (a) the number of Luminar Shares to be distributed to Mr. Smirnov in such

       Permitted Distribution will be deposited into an account designated in writing

       by Mr. Smirnov;

       (b) the number of Luminar Shares to be distributed to GVA Capital in respect

       of the Manager Carried Interest attributable to the Luminar Shares to be

       distributed to Mr. Smirnov in such Permitted Distribution will be deposited

       into an account designated in writing by GVA Capital;

       (c) the number of Luminar Shares to be distributed to Definition Services in

       such Permitted Distribution equal to its Net Investment amount ($18,500,000)

       will be deposited into an account designated in writing by Definition Services;

       and

        (d) the remaining Luminar Shares to be distributed in the Permitted

       Distribution shall remain in the Escrow Account pending joint instructions by

       the Parties or an order of the Court.

       5.    For purposes of the Permitted Distribution, the fair market value of each

 of the Luminar Shares shall be deemed to be equal to the closing price of the shares

 of common stock of Luminar Technologies, Inc. as quoted on The Nasdaq Stock
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 144 of 165 PageID #: 152




 Market LLC at the close of business on the business day prior to the date the

 Permitted Distribution is duly declared by GVA Capital. GVA Capital shall take

 such steps as necessary to ensure that its declaration of the Permitted Distribution

 does not violate the Undertaking and is valid and enforceable under the GVA Auto,

 LLC Operating Agreement and GVA Capital’s Memorandum and Articles of

 Association. The Parties shall provide joint instructions to the Escrow Agent to

 distribute the Luminar Shares in accordance with this Order within two business

 days of GVA Capital’s declaration of the Permitted Distribution.

       6.     Following the Permitted Distribution, the restrictions of this Order shall

 no longer apply to those Luminar Shares that are distributed in accordance with

 Paragraph 3(a), (b), and (c).

       7.     Except as expressly provided herein, until the final resolution of this

 action, the Parties shall not undertake any action with respect to GVA Auto outside

 of the ordinary course of business.

       8.     The restrictions imposed by this Order shall apply to the Parties and

 their affiliates, including, but not limited to, their members, managers, directors,

 employees, agents, or other persons under their control or acting at their direction.

       9.     The restrictions imposed by this Order may be waived on a case-by-

 case basis by the prior written agreement of counsel of record in this action for both

 (a) Definition Services and (b) GVA Capital.
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 145 of 165 PageID #: 153




        10.     The Parties’ agreement to this Order is without prejudice to the Parties’

 rights, claims, arguments and defenses in the action, nor will it be deemed an

 admission by any Party or an adjudication by the Court of the merits of any of the

 Parties’ rights, claims, arguments or defenses in this action.

        11.    The Parties may petition the Court at any time to vacate or modify this

 Order. Unless otherwise modified or vacated by the Court, this Order shall remain

 in full force and effect until the final resolution of this action.




  ROSS ARONSTAM & MORITZ LLP                   RICHARDS, LAYTON & FINGER,
                                               P.A.

  /s/ Adam Gold                                /s/ Brock E. Czeschin
  Bradley R. Aronstam (#5129)                  Brock E. Czeschin (#3938)
  Adam Gold (#6412)                            Christian Roberts (#6694)
  100 South West St, Suite 400                 One Rodney Square
  Wilmington, DE 19801                         920 North King Street
  (302) 576-1600                               Wilmington, Delaware 19801
                                               (302) 651-7700
  Of Counsel:
                                               Attorneys for Plaintiff Definition
                                               Services Inc.
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 146 of 165 PageID #: 154




  Elliot R. Peters
  David J. Silbert
  Nicholas D. Marais
  Tara M. Rangchi
  KEKER, VAN NEST & PETERS LLP
  633 Battery Street
  San Francisco, California 94111

  Attorney for Defendant GVA Capital
  Ltd.


  Dated: May 17, 2021


       SO ORDERED this ______ day of _______________, 2021.


                               _______________________________________
                               Vice Chancellor Kathaleen St. Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 147 of 165 PageID #: 155




This document constitutes a ruling of the court and should be treated as such.

               Court: DE Court of Chancery Civil Action
               Judge: Kathaleen St Jude McCormick
      File & Serve
   Transaction ID: 66608528
     Current Date: May 18, 2021
     Case Number: 2021-0357-KSJM

        Case Name: Definition Services Inc. v. GVA Capital LTD.
Court Authorizer: Kathaleen St Jude McCormick



/s/ Judge Kathaleen St Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 148 of 165 PageID #: 156
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
                                          )
 DEFINITION SERVICES INC.,                )
                                          )
                    Plaintiff,            )
                                          )
       v.                                        C.A. No. 2021-0357-KSJM
                                          )
 GVA CAPITAL LTD.,                        )
                                          )
                    Defendant.            )
                                          )

                            ENTRY OF APPEARANCE

       Please enter the appearances of Bradley R. Aronstam and Adam D. Gold of

 Ross Aronstam & Moritz LLP as counsel on behalf of Defendant GVA Capital

 Ltd. in the above-captioned action.

                                       ROSS ARONSTAM & MORITZ LLP

                                       /s/ Adam D. Gold
                                       Bradley R. Aronstam (Bar No. 5129)
                                       Adam D. Gold (Bar No. 6412)
                                       100 S. West Street, Suite 400
                                       Wilmington, Delaware 19801
                                       (302) 576-1600

                                       Attorneys for Defendant GVA Capital Ltd.

 Dated: May 21, 2021
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 149 of 165 PageID #: 157




                         CERTIFICATE OF SERVICE
       I, Adam D. Gold, hereby certify that on May 21, 2021, I caused a true and

 correct copy of the foregoing Entry of Appearance to be served through File

 & ServeXpress upon the following counsel of record:

       Brock E. Czeschin                       Ryan D. Stottmann
       Christian Roberts                       MORRIS, NICHOLS, ARSHT &
       RICHARDS, LAYTON &                        TUNNELL LLP
        FINGER, P.A.                           1201 N. Market Street
       920 North King Street                   Wilmington, Delaware 19801
       Wilmington, Delaware 19801

                                            /s/ Adam D. Gold
                                            Adam D. Gold (Bar No. 6412)
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 150 of 165 PageID #: 158
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
                                              )
  DEFINITION SERVICES INC.,                   )
                                              )
                     Plaintiff,               )
                                              )
        v.                                           C.A. No. 2021-0357-KSJM
                                              )
  GVA CAPITAL LTD.,                           )
                                              )
                     Defendant.               )
                                              )

    MOTION FOR ADMISSION PRO HAC VICE OF ELLIOT R. PETERS

       I, Adam D. Gold, a member of the Delaware Bar, pursuant to Court of

 Chancery Rule 170, move for the admission pro hac vice of Elliot R. Peters of the

 law firm Keker, Van Nest & Peters LLP, 633 Battery Street, San Francisco,

 California 94111, to represent Defendant GVA Capital Ltd. in the above-captioned

 action. I certify that I find the applicant to be a reputable and competent attorney,

 and I am in a position to recommend the applicant’s admission.

                                          ROSS ARONSTAM & MORITZ LLP

                                          /s/ Adam D. Gold
                                          Bradley R. Aronstam (Bar No. 5129)
                                          Adam D. Gold (Bar No. 6412)
                                          100 S. West Street, Suite 400
                                          Wilmington, Delaware 19801
                                          (302) 576-1600

                                          Attorneys for Defendant GVA Capital
                                          Ltd.
  Dated: May 21, 2021
                                          Words: 80
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                          CERTIFICATE OF SERVICE

       I, Adam D. Gold, hereby certify that on May 21, 2021, I caused a true and

 correct copy of the foregoing Motion for Admission Pro Hac Vice of Elliot R. Peters

 to be served through File & ServeXpress on the following counsel:

        Brock E. Czeschin                    Ryan D. Stottmann
        Christian Roberts                    MORRIS, NICHOLS, ARSHT &
        RICHARDS, LAYTON &                     TUNNELL LLP
         FINGER, P.A.                        1201 N. Market Street
        920 North King Street                Wilmington, Delaware 19801
        Wilmington, Delaware
        19801

                                             /s/ Adam D. Gold
                                             Adam D. Gold (Bar No. 6412)
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 152 of 165 PageID #: 160
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
                    CERTIFICATION OF ELLIOT R. PETERS

 I, Elliot R. Peters, hereby certify that:

        1.     I am a member in good standing of the bar of the State of California

 and the State of New York;

        2.     I shall be bound by the Delaware Lawyers’ Rules of Professional

 Conduct, and I have reviewed the Principles of Professionalism for Delaware

 Lawyers, as effective on November 1, 2003, and as amended;

        3.     I and all attorneys of my firm who directly or indirectly provide services

 to the party or cause at issue shall be bound by the Rules of the Court;

        4.     I consent to the appointment of the New Castle County Register in

 Chancery as agent upon whom service of process may be made for all actions,

 including disciplinary actions, that may arise out of the practice of law in this case

 and any activities related thereto;

        5.     I have appeared in no actions in a court of record in Delaware in the

 preceding twelve (12) months;

        6.     My payment for the pro hac vice admission assessment in the amount

 of Four Hundred and Twenty-Two dollars ($422.00) has been paid through “File &

 ServeXpress” to the Supreme Court Registration Fund;
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 153 of 165 PageID #: 161




       7.     I have not been disbarred or suspended, and I am not the object of any

 pending disciplinary proceedings in any jurisdiction where I have been admitted

 generally, pro hac vice, or in any other way; and

       8.     I am admitted generally for the practice of law in the following states

 or other jurisdictions: the State of California and the State of New York.




                                               ______________________________
                                                        Elliot R. Peters

 May 18, 2021




                                           2
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 154 of 165 PageID #: 162
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                            )
  DEFINITION SERVICES INC.,                 )
                                            )
                    Plaintiff,              )
                                            )
        v.                                        C.A. No. 2021-0357-KSJM
                                            )
  GVA CAPITAL LTD.,                         )
                                            )
                    Defendant.              )
                                            )

      [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
              PRO HAC VICE OF ELLIOT R. PETERS

       The foregoing motion for admission pro hac vice of Elliot R. Peters to

 represent Defendant GVA Capital Ltd. is hereby granted.

       IT IS SO ORDERED this ______ day of _____________, 2021.



                                   Chancellor Kathaleen St. Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 155 of 165 PageID #: 163
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
                                              )
  DEFINITION SERVICES INC.,                   )
                                              )
                     Plaintiff,               )
                                              )
        v.                                           C.A. No. 2021-0357-KSJM
                                              )
  GVA CAPITAL LTD.,                           )
                                              )
                     Defendant.               )
                                              )

  MOTION FOR ADMISSION PRO HAC VICE OF NICHOLAS D. MARAIS

       I, Adam D. Gold, a member of the Delaware Bar, pursuant to Court of

 Chancery Rule 170, move for the admission pro hac vice of Nicholas D. Marais of

 the law firm Keker, Van Nest & Peters LLP, 633 Battery Street, San Francisco,

 California 94111, to represent Defendant GVA Capital Ltd. in the above-captioned

 action. I certify that I find the applicant to be a reputable and competent attorney,

 and I am in a position to recommend the applicant’s admission.

                                          ROSS ARONSTAM & MORITZ LLP

                                          /s/ Adam D. Gold
                                          Bradley R. Aronstam (Bar No. 5129)
                                          Adam D. Gold (Bar No. 6412)
                                          100 S. West Street, Suite 400
                                          Wilmington, Delaware 19801
                                          (302) 576-1600

                                          Attorneys for Defendant GVA Capital
                                          Ltd.
  Dated: May 21, 2021
                                          Words: 80
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 156 of 165 PageID #: 164




                         CERTIFICATE OF SERVICE

       I, Adam D. Gold, hereby certify that on May 21, 2021, I caused a true and

 correct copy of the foregoing Motion for Admission Pro Hac Vice of Nicholas D.

 Marais to be served through File & ServeXpress on the following counsel:

        Brock E. Czeschin                    Ryan D. Stottmann
        Christian Roberts                    MORRIS, NICHOLS, ARSHT &
        RICHARDS, LAYTON &                     TUNNELL LLP
         FINGER, P.A.                        1201 N. Market Street
        920 North King Street                Wilmington, Delaware 19801
        Wilmington, Delaware 19801

                                            /s/ Adam D. Gold
                                            Adam D. Gold (Bar No. 6412)
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 157 of 165 PageID #: 165
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
                  CERTIFICATION OF NICHOLAS D. MARAIS

 I, Nicholas D. Marais, hereby certify that:

       1.     I am a member in good standing of the bar of the State of California

 and the District of Columbia;

       2.     I shall be bound by the Delaware Lawyers’ Rules of Professional

 Conduct, and I have reviewed the Principles of Professionalism for Delaware

 Lawyers, as effective on November 1, 2003, and as amended;

       3.     I and all attorneys of my firm who directly or indirectly provide services

 to the party or cause at issue shall be bound by the Rules of the Court;

       4.     I consent to the appointment of the New Castle County Register in

 Chancery as agent upon whom service of process may be made for all actions,

 including disciplinary actions, that may arise out of the practice of law in this case

 and any activities related thereto;

       5.     I have appeared in no actions in a court of record in Delaware in the

 preceding twelve (12) months;

       6.     My payment for the pro hac vice admission assessment in the amount

 of Four Hundred and Twenty-Two dollars ($422.00) has been paid through “File &

 ServeXpress” to the Supreme Court Registration Fund;
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 158 of 165 PageID #: 166




       7.     I have not been disbarred or suspended, and I am not the object of any

 pending disciplinary proceedings in any jurisdiction where I have been admitted

 generally, pro hac vice, or in any other way; and

       8.     I am admitted generally for the practice of law in the following states

 or other jurisdictions: the State of California and the District of Columbia.



                                               ______________________________
                                                      Nicholas D. Marais

 May 18, 2021




                                           2
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 159 of 165 PageID #: 167
                                                   EFiled: May 21 2021 11:47AM EDT
                                                   Transaction ID 66609955
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                            )
  DEFINITION SERVICES INC.,                 )
                                            )
                    Plaintiff,              )
                                            )
        v.                                        C.A. No. 2021-0357-KSJM
                                            )
  GVA CAPITAL LTD.,                         )
                                            )
                    Defendant.              )
                                            )

      [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
             PRO HAC VICE OF NICHOLAS D. MARAIS

       The foregoing motion for admission pro hac vice of Nicholas D. Marais to

 represent Defendant GVA Capital Ltd. is hereby granted.

       IT IS SO ORDERED this ______ day of _____________, 2021.



                                  Chancellor Kathaleen St. Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 160 of 165 PageID #: 168
                                                   EFiled: May 21 2021 06:47PM EDT
                                                   Transaction ID 66623350
                                                   Case No. 2021-0357-KSJM
      IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

  DEFINITION SERVICES INC.,                     )
                                                )
                                                )
                    Plaintiff,                  )   C.A. No. 2021-0357-KSJM
                                                )
           v.                                   )
                                                )
  GVA CAPITAL LTD.,                             )
                                                )
                                                )
                    Defendant,                  )


                       NOTICE AND CERTIFICATE OF SERVICE

          IT IS HEREBY CERTIFIED that, on May 21, 2021, true and correct copies

 of: (1) Plaintiff Definition Services Inc.’s First Set of Interrogatories Directed to

 Defendant GVA Capital LTD.; (2) Plaintiff Definition Services Inc.’s First Set of

 Requests for Production Directed to Defendant GVA Capital LTD.; and (3) this

 Notice and Certificate of Service were caused to be served on the following counsel

 of record in the manner indicated:

                                 VIA FILE & SERVEXPRESS

                                 Bradley R. Aronstam
                                 Adam D. Gold
                                 ROSS ARONSTAM & MORITZ LLP
                                 100 S. West Street, Suite 400
                                 Wilmington, Delaware 19801




                                            1
 RLF1 25352493v.1
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 161 of 165 PageID #: 169




                                           /s/ Christian C.F. Roberts
                                           Brock E. Czeschin (#3938)
                                           Christian Roberts (#6694)
                                           RICHARDS, LAYTON & FINGER,
                                           P.A.
                                           920 North King Street
                                           Wilmington, Delaware 19801
                                           (302) 651-7700
                                           Attorneys for Plaintiff Definition
  Dated: May 21, 2021                      Services Inc.




                                       2
 RLF1 25352493v.1
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 162 of 165 PageID #: 170
                                                   EFiled: May 24 2021 03:50PM EDT
                                 GRANTED           Transaction ID 66626984
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                            )
  DEFINITION SERVICES INC.,                 )
                                            )
                    Plaintiff,              )
                                            )
        v.                                        C.A. No. 2021-0357-KSJM
                                            )
  GVA CAPITAL LTD.,                         )
                                            )
                    Defendant.              )
                                            )

      [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
              PRO HAC VICE OF ELLIOT R. PETERS

       The foregoing motion for admission pro hac vice of Elliot R. Peters to

 represent Defendant GVA Capital Ltd. is hereby granted.

       IT IS SO ORDERED this ______ day of _____________, 2021.



                                   Chancellor Kathaleen St. Jude McCormick
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This document constitutes a ruling of the court and should be treated as such.

               Court: DE Court of Chancery Civil Action
               Judge: Kathaleen St Jude McCormick
      File & Serve
   Transaction ID: 66609955
     Current Date: May 24, 2021
     Case Number: 2021-0357-KSJM

        Case Name: Definition Services Inc. v. GVA Capital LTD.
Court Authorizer: Kathaleen St Jude McCormick



/s/ Judge Kathaleen St Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 164 of 165 PageID #: 172
                                                   EFiled: May 24 2021 03:50PM EDT
                                 GRANTED           Transaction ID 66626984
                                                   Case No. 2021-0357-KSJM
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                            )
  DEFINITION SERVICES INC.,                 )
                                            )
                    Plaintiff,              )
                                            )
        v.                                        C.A. No. 2021-0357-KSJM
                                            )
  GVA CAPITAL LTD.,                         )
                                            )
                    Defendant.              )
                                            )

      [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
             PRO HAC VICE OF NICHOLAS D. MARAIS

       The foregoing motion for admission pro hac vice of Nicholas D. Marais to

 represent Defendant GVA Capital Ltd. is hereby granted.

       IT IS SO ORDERED this ______ day of _____________, 2021.



                                  Chancellor Kathaleen St. Jude McCormick
Case 1:21-cv-00741-RTD Document 1-1 Filed 05/25/21 Page 165 of 165 PageID #: 173




This document constitutes a ruling of the court and should be treated as such.

               Court: DE Court of Chancery Civil Action
               Judge: Kathaleen St Jude McCormick
      File & Serve
   Transaction ID: 66609955
     Current Date: May 24, 2021
     Case Number: 2021-0357-KSJM

        Case Name: Definition Services Inc. v. GVA Capital LTD.
Court Authorizer: Kathaleen St Jude McCormick



/s/ Judge Kathaleen St Jude McCormick
